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                           IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLORADO

   Civil Action No. 05-cv-00377-WDM-BNB

   MOISES CARRANZA-REYES,

          Plaintiff,

   v.

   THE PARK COUNTY BOARD OF COUNTY COMMISSIONERS;
   FRED WEGENER, individually and in his official capacity as Sheriff of Park County, Colorado;
   MONTE GORE, individually and in his official capacity as Captain of Park County Sheriff’s
   Department; and
   VICKIE PAULSEN, individually, and in her official capacity as Registered Nurse for Park
   County, Colorado,

          Defendants


          REPLY BRIEF IN SUPPORT OF MOTION FOR SUMMARY JUDGMENT


          Defendants Park County Board of County Commissioners, Fred Wegener, and Monte

   Gore, by and through their counsel, Andrew D. Ringel, Esq. and Jennifer L. Veiga, Esq. of Hall

   & Evans, L.L.C., hereby submit this Reply Brief in Support of Motion for Summary Judgment,

   as follows:

                                         INTRODUCTION

          Plaintiff Moises Carranza-Reyes brings this action pursuant to 42 U.S.C. § 1983 and

   Colorado law against the Defendants arising from his incarceration in the Park County Jail from

   March 1, 2003, through March 8, 2003. Plaintiff’s remaining claims are: (1) a claim pursuant to

   42 U.S.C. § 1983 against Defendants Park County Board of County Commissioners, Fred

   Wegener, and Monte Gore alleging violations of the Plaintiff’s rights protected by the Eighth and
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   Fourteenth Amendments to the United States Constitution; (2) a claim pursuant to 42 U.S.C. §

   1983 against Defendant Vicki Paulsen, R.N. for violations of his Eighth and Fourteenth

   Amendment rights to adequate medical care; and (3) negligence against Ms. Paulsen.

          Defendants Board of County Commissioners of Park County (“Board”), Fred Wegener,

   the Sheriff of Park County, and Monte Gore, at the time of Plaintiff’s detention a Captain of Park

   County, filed their Motion for Summary Judgment (“Defendants’ MSJ”) on December 13, 2006.

   Plaintiff submitted his Response to Motion for Summary Judgment from Defendants Park

   County Board of County Commissioners, Fred Wegener and Monte Gore (“Plaintiff’s

   Response”) on January 11, 2007.         Now, the Board, Sheriff Wegener, and Captain Gore

   respectfully submit this Reply Brief in Support of Motion for Summary Judgment. None of the

   facts, arguments, or authorities relied upon by the Plaintiff detract from the propriety of this

   Court granting summary judgment to these Defendants on all of Plaintiff’s remaining claims.

            REPLY CONCERNING PLAINTIFF’S RESPONSE TO DEFENDANTS’
                  STATEMENT OF UNDISPUTED MATERIAL FACTS

          Pursuant to this Court’s Pretrial and Trial Procedures governing motions for summary

   judgment [see Pretrial and Trial Procedures, § 6.3], Defendants provided a Statement of

   Undisputed Facts consisting of 138 separately numbered facts supported by specific references to

   the record submitted to this Court. [See Defendants’ MSJ, at 3-138]. In response, Plaintiff

   attempts to dispute a total of 44 of the 138 facts. [See Plaintiff’s Response, at 2]. However, in

   attempting to do so, Plaintiff fails to follow this Court’s Pretrial and Trial Procedures governing

   responses to motions for summary judgment. Plaintiff asserts 44 of the 138 facts presented by

   the Defendants are disputed, but the Plaintiff’s denials do not “include a brief factual explanation

   of the reasons with specific reference to material in the record supporting the denial.” [See

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   Pretrial and Trial Procedures, § 6.4; Plaintiff’s Response, at 2]. As a result of the Plaintiff’s

   failure to follow this Court’s Pretrial and Trial Procedures concerning motions for summary

   judgment, the Plaintiff has not provided any support from the summary judgment record before

   this Court for the denials of the Defendants’ Statement of Undisputed Facts. Neither this Court

   nor the Defendants, therefore, have any ability to evaluate whether in fact any of these material

   facts are really in dispute based upon admissible evidence contained in the summary judgment

   record. Further, the Defendants have no ability to challenge the Plaintiff’s denials or any actual

   facts offered by the Plaintiff to support the denials. Fundamentally, Plaintiff’s presentation

   thwarts the laudable goal behind this Court’s Pretrial and Trial Procedures concerning motions

   for summary judgment that require litigants to make specific references to the summary

   judgment record with all factual statements and denials made in summary judgment briefing.

          Fortunately, the Federal Rules of Civil Procedure specifically contemplate the failure to

   appropriately oppose a motion for summary judgment. Fed. R. Civ. P. 56(e) provides, in

   pertinent part, as follows:

          When a motion for summary judgment is made and supported as provided in this
          rule, an adverse party may not rest upon the mere allegations or denials of the
          adverse party’s pleadings, but the adverse party’s response, by affidavits or as
          otherwise provided by this rule, must set forth specific facts that there is a genuine
          issue for trial. If the party does not so respond, summary judgment, if
          appropriate, shall be entered against the adverse party.

   Fed. R. Civ. P. 56(e). Here, while the Plaintiff responded to the Defendants’ Motion for

   Summary Judgment, Plaintiff’s failure to provide any specific support for his denials of the

   undisputed facts contained in the Defendants’ MSJ represents a failure to adequately support his

   response pursuant to Fed. R. Civ. P. 56(e). After all, “[w]here, as here, the non-movant bears the

   burden of proof at trial, the non-movant must point to specific evidence establishing a genuine

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   issue of material fact with regard to each challenged element.” Murphy v. Gardner, 413

   F.Supp.2d 1156, 1162 (D.Colo. 2006) (alteration added). Plaintiff’s failure to provide any

   evidentiary support for his denials of the Defendants’ statement of undisputed facts represents a

   failure to meet his summary judgment burden under Fed. R. Civ. P. 56(e).                 Under these

   circumstances, this Court is justified in considering the Plaintiff’s failure to support his denials of

   the Defendants’ statement of undisputed facts as a waiver of “the right to respond or to

   controvert the facts asserted in the summary judgment motion.” Reed v. Nellcor Puritan

   Bennett, 312 F.3d 1190, 1195 (10th Cir. 2002). Otherwise, this Court will be required to search

   the entirety of the summary judgment record to find support for the Plaintiff’s denials and the

   Defendants will have absolutely no opportunity to contest the Plaintiff’s unsupported denials at

   all. In Gross v. Burggraf Constr. Co., 53 F.3d 1531 (10th Cir. 1995), the Tenth Circuit addressed

   the fundamental problem with an approach such as the Plaintiff’s here:

                  To withstand a motion for summary judgment, ‘the nonmovant must do
          more than refer to allegations of counsel contained in a brief . . . .” Thomas v.
          Wichita Coca-Cola Bottling Co., 968 F.2d 1022, 1024 (10th Cir.), cert. denied,
          121 L.Ed.2d 566, 113 S.Ct. 635 (1992). “Sufficient evidence (pertinent to the
          material issue) must be identified by reference to an affidavit, a deposition
          transcript or a specific exhibit incorporated therein.” Id. at 1024. Without a
          specific reference, “we will not search the record in an effort to determine
          whether there exists dormant evidence which might require submission of the
          case to a jury.” Id. at 1025; accord United States v. Dunkel, 927 F.2d 955, 956
          (7th Cir. 1991) (“Judges are not like pigs, hunting for truffles buried in briefs.”).
          We cannot consider these unsubstantiated allegations in reviewing this appeal.

   Id. at 1546.




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                  RESPONSE CONCERNING PLAINTIFF’S STATEMENT OF
                    ADDITIONAL DISPUTED AND UNDISPUTED FACTS 1

          Plaintiff presents a Statement of Additional Disputed and Undisputed Facts consisting of

   152 additional factual assertions. Several issues with respect to the Plaintiff’s Statement of

   Additional Disputed and Undisputed Facts require comment. First, many of the Plaintiff’s

   additional facts are duplicative of the undisputed facts presented by the Defendants. Second,

   many of the Plaintiff’s additional facts are not relevant to the issues raised by the Defendants on

   summary judgment.        Third, many of the Plaintiff’s additional facts are not supported by

   admissible evidence and evidence considered by this Court for purposes of summary judgment

   must be admissible. See, e.g., Pastran v. K-Mart Corp., 210 F.3d 1201, 1203 n. 1 (10th Cir.

   2000); Wright-Simmons v. City of Oklahoma City, 155 F.3d 1264, 1269 (10th Cir. 1998). These

   considerations must inform this Court’s review of the Plaintiff’s Statement of Additional

   Disputed and Undisputed Facts and this Court’s application of the applicable summary judgment

   standard in this case.

          1.      Defendants admit the Park County Jail Policy and Procedure Manual provides:

   “It is the policy of the Sheriff’s office that inmates are housed in cell or dormitory sleeping areas

   that provide at least 80 square feet of total living space per occupant.” [See Policy and Procedure

   Manual, J-108-A, Pl. Exh. 1].

          2.      Defendants admit Captain Gore testified that it sounded reasonable that D-Pod

   contained 740 square feet on its upper tier and 735 square feet on its lower tier. [See Gore Dep.,


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               Defendants’ representations concerning the facts in this Reply Brief, as in the
   Defendants’ original Motion for Summary Judgment, are for the purposes of summary judgment
   only. Defendants specifically reserve the right to contest each and every one of these facts at any
   later stage of these proceedings including at trial.

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   at 24, Pl. Exh. 2]. However, Captain Gore’s testimony does not support that in fact the upper

   and lower tiers of D-Pod were those square feet. Defendants deny the maximum capacity of D-

   Pod was 18 people as Captain Gore never so testified. [See Gore Dep., at 24-25, Pl. Exh. 2].

          3.     Defendants admit the Park County Jail was privately constructed in 1994. [See

   Defendants’ Statement of Undisputed Material Facts (“DSUMF”), ¶ 1]. Defendants deny D-Pod

   was originally designed for 8 double-bunk beds to sleep 16 inmates. The deposition testimony of

   Sheriff Wegener does not support this fact. During his deposition, Sheriff Wegener was shown

   an architectural sketch of the Park County Jail. [See Wegener Dep., at 17, Exh. A-42; Park

   County Jail Architectural Sketch, Exh. A-43]. Based on the architectural drawing, the following

   colloquy occurred during Sheriff Wegener’s deposition:

          Q.     Can you count the number of bunks that are shown on the original drawing?

          A.     Looks like there’s one, two, three, four, five, six, seven, eight.

          Q.     Okay.

          A.     And I don’t know if this is nine or not. The way it’s shaded in, it makes it look
                 like there’s another bunk right here.

          Q.     That’s kind of a question mark?

          A.     Yes.

          Q.     Because it also looks like it has a wall around that area?

          A.     Yeah.

          Q.     So if it were –

          A.     That’s a dormitory-style pod, so that’s what’s throwing me off with that wall.
                 Dormitory-style pod normally don’t have that.

          Q.     Okay. So if it were eight beds and it were double beds, it would be for 16
                 inmates.

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             A.     Yes, correct.

             Q.     If it were nine beds, it would be for 18 inmates, correct?

             A.     Correct.

   [See Wegener Dep., at 20-21, Exh. A-42 (objections and comments by counsel omitted)].

   Plaintiff’s effort to establish D-Pod of the Park County Jail was originally constructed for 16 or

   18 inmates based on this deposition testimony is flawed. Sheriff Wegener’s interpretation of an

   architectural drawing that he did not create establishes nothing concerning D-Pod’s original

   design.

             4.     Defendants admit the Park County Jail Policy and Procedure Manual provides:

   “It is the policy of the Sheriff’s office that inmates are housed in cell or dormitory sleeping areas

   that provide at least 80 square feet of total living space per occupant.” [See Policy and Procedure

   Manual, J-108-A, Pl. Exh. 1]. Defendants deny D-Pod of the Park County Jail was designed for

   18 people. The deposition testimony of Sheriff Wegener relied upon by the Plaintiff does not

   support this as an actual fact. Sheriff Wegener actually testified as follows:

             Q.     Now, assuming that the architectural drawing at the time of the
                    construction of the jail shows 18 occupants, that there are 18 seats
                    available for inmates to sit at the dining tables, and that there is 1,475
                    square feet upstairs and downstairs in the facility, and divided by 80, that
                    equals 18.4 prisoners in D Pod, it’s true that D Pod was designed for 18
                    prisoners, isn’t it?

             Mr. Ringel:   Object to the form and the foundation.

             A.     Yes, that’s correct.

   [See Wegener Dep., at 62, Pl. Exh. 3]. Even assuming Sheriff Wegner’s response is admissible,

   again, Sheriff Wegener’s interpretation of an architectural drawing that he did not create


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   establishes nothing concerning D-Pod’s original design.       Sheriff Wegener lacks personal

   knowledge to testify and never testified about the original design of D-Pod in terms of the

   number of inmates it could accommodate anywhere in his deposition.

          5.     Defendants admit Sheriff Wegener walked through the Park County Jail

   approximately once every two weeks. [See DSUMF, ¶ 31]. Defendants admit Sheriff Wegener

   had access to the total number of inmates housed in the Park County Jail at any given time

   through his office computer. [See Wegener Dep., at 13 & 63, Exh. A-42]. However, Sheriff

   Wegener was not aware of the daily inmate population of D-Pod. [See Wegener Dep., at 63-64,

   Exh. A-42].

          6.     Defendants admit former Park County Jail Deputy Edward Allen testified he

   believed D-Pod was originally designed for 18 people because when he began working at the

   Park County Jail there were 18 bunks in D-Pod and he step-measured D-Pod. [See Allen Dep., at

   40-41, Pl. Exh. 4]. Mr. Allen’s deposition testimony, however, does not support the proposition

   the deputies who worked in the Park County Jail understood D-Pod was designed for 18 people

   because it presents only Mr. Allen’s own perspective. [See Allen Dep., at 40-41, Pl. Exh. 4]. In

   addition, Mr. Allen lacks any personal knowledge concerning the original design of D-Pod since

   he did not begin working at the Park County Jail until April 1, 2002, and the Park County Jail

   was constructed in 1994. [See Allen Dep., at 29, Exh. A-44; DSUMF, ¶ 1].

          7.     Defendants admit bunks were added to D-Pod and placed upstairs until there were

   a total of 42 bunk beds in D-Pod in March 2003. [See DSUMF, ¶ 44].

          8.     Defendants admit bunks were added to D-Pod and placed upstairs until there were

   a total of 42 bunk beds in D-Pod in March 2003. [See DSUMF, ¶ 44].


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          9.      Admitted. [See DSUMF, ¶ 44].

          10.     Admitted. [See DSUMF, ¶ 45].

          11.     Admitted.

          12.     Defendants admit the Park County Jail billed INS for 810 total inmate days in

   January 2003 which represents a daily average of 26.1 INS detainees being housed in the Park

   County Jail in January 2003.     [See Muldoon Letter to US Immigration and Naturalization

   Service, 2/10/03, Pl. Exh. 6].

          13.     Defendants admit that the Park County Jail billed INS for 883 total inmate days in

   February 2003 which represents a daily average of 31.1 INS detainees being housed in the Park

   County Jail in February 2003. [See Muldoon Letter to US Immigration and Naturalization

   Service, 3/13/03, Pl. Exh. 6].

          14.     Defendants admit the Park County Jail billed INS for 632 total inmate days in

   March 2003 which represents a daily average of 20.3 INS detainees being housed in the Park

   County Jail in March 2003. [See Muldoon Letter to US Immigration and Naturalization Service,

   4/14/03, Pl. Exh. 6]. Plaintiff’s reference to Captain Gore’s deposition, however, does not

   support the assertion D-Pod was vacant for two weeks in March 2003. Captain Gore never

   agrees with this statement made by counsel for the Plaintiff. [See Gore Dep., at 267, Pl. Exh. 2].

          15.     Defendants admit Sheriff Wegener was aware that when more INS detainees than

   42 were housed in D-Pod that any additional INS detainees would receive mattresses to place on

   the floor. [See Wegener Dep., at 68, Pl. Exh. 3]. Defendants admit Sheriff Wegener did not

   place any limitation on the number of individuals who could be housed in D-Pod and indicated




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    that such a determination would be the responsibility of the Jail Administrator. [See Wegener

    Dep., at 70, Pl. Exh. 3].

              16.   Denied. [See DSUMF, ¶ 73].

              17.   Admitted. [See DSUMF, ¶ 91].

              18.   Admitted. [See DSUMF, ¶ 103].

              19.   Admitted. [See DSUMF, ¶¶ 110-112].

              20.   Defendants admit Plaintiff so testified. However, the policy of the Park County

    Jail was to provide clean clothing and bedding for all incoming INS detainees. [See DSUMF, ¶¶

    13-15].

              21.   Defendants admit Plaintiff so testified.

              22.   Defendants admit Plaintiff so testified.

              23.   Defendants admit Plaintiff so testified. However, the policy of the Park County

    Jail was to provide cleaning supplies to the detainees in D-Pod for them to clean the entire Pod

    including the bathroom area. [See DSUMF, ¶¶ 17-20]. Further, the records of the Park County

    Jail reflect deputies provided cleaning supplies to D-Pod on at least nine occasions during the

    time Plaintiff was detained there. [See DSUMF, ¶¶ 76, 81, 86, 94, 101 & 108]. Plaintiff has

    specifically admitted all of these facts. [See Plaintiff’s Response, at 2].

              24.   Defendants admit Plaintiff so testified. However, the policy of the Park County

    Jail was to provide cleaning supplies to the detainees in D-Pod for them to clean the entire Pod

    including the bathroom area. [See DSUMF, ¶¶ 17-20]. Further, the records of the Park County

    Jail reflect deputies provided cleaning supplies to D-Pod on at least nine occasions during the




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    time Plaintiff was detained there. [See DSUMF, ¶¶ 76, 81, 86, 94, 101 & 108]. Plaintiff has

    specifically admitted all of these facts. [See Plaintiff’s Response, at 2].

           25.     Defendants admit Plaintiff so testified. However, the policy of the Park County

    Jail was to address any issues regarding the heating system and the temperature of the Pods as

    soon as possible through the maintenance person for the Park County Jail, Jim Deathrage. [See

    DSUMF, ¶¶ 26-27].

           26.     Defendants admit Plaintiff so testified. However, the policy of the Park County

    Jail was to provide cleaning supplies to the detainees in D-Pod for them to clean the entire Pod

    including the bathroom area. [See DSUMF, ¶¶ 17-20]. Further, the records of the Park County

    Jail reflect deputies provided cleaning supplies to D-Pod on at least nine occasions during the

    time Plaintiff was detained there. [See DSUMF, ¶¶ 76, 81, 86, 94, 101 & 108]. Plaintiff has

    specifically admitted all of these facts. [See Plaintiff’s Response, at 2].

           27.     Denied. The records of the Park County Jail reflect deputies provided cleaning

    supplies to D-Pod on at least nine occasions during the time Plaintiff was detained there. [See

    DSUMF, ¶¶ 76, 81, 86, 94, 101 & 108]. Plaintiff has specifically admitted all of these facts.

    [See Plaintiff’s Response, at 2].

           28.     Defendants admit Plaintiff so testified. However, the policy of the Park County

    Jail was to provide cleaning supplies to the detainees in D-Pod for them to clean the entire Pod

    including the bathroom area. [See DSUMF, ¶¶ 17-20]. Further, the records of the Park County

    Jail reflect deputies provided cleaning supplies to D-Pod on at least nine occasions during the

    time Plaintiff was detained there. [See DSUMF, ¶¶ 76, 81, 86, 94, 101 & 108]. Plaintiff has

    specifically admitted all of these facts. [See Plaintiff’s Response, at 2]. In addition, the policy of


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    the Park County Jail was to address any maintenance problems with the toilets as soon as

    possible. [See Allen Dep., at 70-76, Exh. A-44].

           29.     Defendants admit Plaintiff so testified. However, the policy of the Park County

    Jail was to not allow one detainee to obtain a food tray for another detainee. [See Allen Dep., at

    86-87, Exh. A-44].

           30.     Defendants admit Plaintiff so testified.

           31.     Defendants admit Plaintiff so testified. However, the first time Park County Jail

    deputies reported any inmates in D-Pod experiencing any symptoms of illness was on March 4,

    2003. [See DSUMF, ¶ 90].

           32.     Defendants admit on March 5, 2003, 50 INS detainees were housed in D-Pod, and

    on March 6, 2003, 61 INS detainees were housed in D-Pod. [See DSUMF, ¶¶ 95 & 103]. Five

    INS detainees, including the Plaintiff, were seen by Nurse Paulsen for medical issues on March

    6, 2003. [See DSUMF, ¶ 98]. The policy of the Park County Jail was to provide cleaning

    supplies to the detainees in D-Pod for them to clean the entire Pod including the bathroom area.

    [See DSUMF, ¶¶ 17-20]. Further, the records of the Park County Jail reflect deputies provided

    cleaning supplies to D-Pod on at least nine occasions during the time Plaintiff was detained

    there. [See DSUMF, ¶¶ 76, 81, 86, 94, 101 & 108]. Plaintiff has specifically admitted all of

    these facts. [See Plaintiff’s Response, at 2].

           33.     Defendants admit Plaintiff’s brother so testified. However, the policy of the Park

    County Jail was to provide clean clothing and bedding for all incoming INS detainees. [See

    DSUMF, ¶¶ 13-15].

           34.     Defendants admit Plaintiff’s brother so testified.


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           35.     Defendants admit Plaintiff’s brother so testified.

           36.     Defendants admit Plaintiff’s brother so testified. However, the policy of the Park

    County Jail was to provide cleaning supplies to the detainees in D-Pod for them to clean the

    entire Pod including the bathroom area. [See DSUMF, ¶¶ 17-20]. Further, the records of the

    Park County Jail reflect deputies provided cleaning supplies to D-Pod on at least nine occasions

    during the time Plaintiff was detained there. [See DSUMF, ¶¶ 76, 81, 86, 94, 101 & 108].

    Plaintiff has specifically admitted all of these facts. [See Plaintiff’s Response, at 2].

           37.     Defendants admit Plaintiff’s brother so testified. However, the policy of the Park

    County Jail was to provide cleaning supplies to the detainees in D-Pod for them to clean the

    entire Pod including the bathroom area. [See DSUMF, ¶¶ 17-20]. Further, the records of the

    Park County Jail reflect deputies provided cleaning supplies to D-Pod on at least nine occasions

    during the time Plaintiff was detained there. [See DSUMF, ¶¶ 76, 81, 86, 94, 101 & 108].

    Plaintiff has specifically admitted all of these facts. [See Plaintiff’s Response, at 2].

           38.     Defendants admit Plaintiff’s brother so testified. However, the first time Park

    County Jail deputies reported any inmates in D-Pod experiencing any symptoms of illness was

    on March 4, 2003. [See DSUMF, ¶ 90].

           39.     Defendants admit Plaintiff’s brother so testified.

           40.     Defendants admit Deputy Allen testified there were problems with the showers

    not draining and the toilets overflowing between March 1-8, 2003, and those problems were

    addressed every time they occurred. [See Allen Dep., at 70-76, Exh. A-44].




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            41.     Defendants admit Deputy Allen testified there were problems with the showers

    not draining and the toilets overflowing between March 1-8, 2003, and those problems were

    addressed every time they occurred. [See Allen Dep., at 70-76, Exh. A-44].

            42.     Defendants admit Deputy Allen testified there were problems with the showers

    not draining and the toilets overflowing between March 1-8, 2003, and those problems were

    addressed every time they occurred. [See Allen Dep., at 70-76, Exh. A-44].

            43.     Deputy Allen testified he placed a small trash can upstairs in D-Pod at some time

    but did not know whether it was between March 1-8, 2003. [See Allen Dep., at 82, Pl. Exh. 4].

            44.     Admitted.

            45.     Defendants admit Plaintiff’s brother so testified. Defendants admit Deputy Allen

    so testified.

            46.     Defendants admit uniforms were exchanged in D-Pod on March 4, 2003, at 10:33

    p.m. [See DSUMF, ¶ 89]. Defendants admit that laundry may not have been exchanged in D-

    Pod for five days before that time. [See Flint Memorandum, 3/4/03, Pl. Exh. 7, at p. 45].

    However, Plaintiff arrived the night of March 1, 2003. [See DSUMF, ¶¶ 70-71]. Defendants

    admit the detainees in D-Pod wrapped themselves in blankets while their uniforms were washed.

    [See Allen Dep., at 126-128, Pl. Exh. 4].

            47.     Defendants deny paragraph 47 to the extent it suggests Deputy Allen testified he

    observed or knew of toilet overflow reaching the area of the sinks or of any detainees actually

    stepping in the overflow. To the contrary, Deputy Allen testified there were problems with the

    showers not draining and the toilets overflowing between March 1-8, 2003, and those problems

    were addressed every time they occurred. [See Allen Dep., at 70-76, Exh. A-44]. When asked


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    his opinion regarding a hypothetical scenario in which fluids overflowed from the toilet and were

    not addressed or cleaned, Deputy Allen testified as follows:

            Q.     So if a person was going to not even use the toilet, just use the sink, the
                   overflow from the toilet, they'd have to step in it, wouldn't they?

             MR. RINGEL: Object to the form.

           A.      If it wasn't cleaned up, they would be standing in it, yes.

           Q.      And in order to go to the shower, you would have to walk through this
                   water from the overflowed toilets to get to the shower, correct?

             MR. RINGEL: Object to the form and the foundation.

           A. Yes.

    [See Allen Dep., at 186, Pl. Exh. 4].

           48.     Defendants admit Deputy Allen testified it would be difficult to mop the pod

    when 61 detainees were housed in that pod. [See Allen Dep., at 187, Pl. Exh. 4]. Defendants

    deny the remainder of the allegations of paragraph 48 to the extent they suggest that Deputy

    Allen testified that he observed or knew of any incident in which toilet overflow was not cleaned

    up or that detainees actually stepped in any such overflow. [See Defendants’ Response to

    Plaintiff’s Statement of Additional Undisputed and Disputed Facts, ¶ 47].

           49.     Defendants admit Deputy Allen in his deposition agreed with hypothetical

    scenarios posed by counsel, but he did not testify he ever witnessed anyone stepping on bodily

    fluids or papers containing bodily fluids. [See Allen Dep., at 187-189, Pl. Exh. 4]. Instead, the

    testimony at issue is as follows:

           Q.      And these paper shoes they were wearing, if they had to go to the sink in the
                   morning to brush their teeth or wash their hair, they're right by the toilet if the
                   toilet's overflowing, they're going to be stepping in this liquid, aren't they, that's
                   on the floor?

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           MR. RINGEL: Object to the form and the foundation.

           A.      If there was any type of fluid on the floor in that area, there would be no way not
                   to step into it, yes.

           Q.      And even if the toilet's cleaned up, whatever bacterial, fecal material, whatever's
                   on their shoes is going to be continued to be tracked around the cell, aren't they?

           MR. RINGEL: Object to the form and the foundation.

           A.    Yes, sir.

    [See Allen Dep., at 187-188, Pl. Exh. 4].

           50.     Defendants admit Deputy Allen testified the plumbing and heating problems he

    described as occurring between March 1-8, 2003, also occurred previously at any unspecified

    time. [See Allen Dep., at 160, Pl. Exh. 4].

           51.     Defendants admit Deputy Allen so testified.

           52.     Defendants admit Plaintiff so testified. However, the first time Park County Jail

    deputies reported any inmates in D-Pod experiencing any symptoms of illness was on March 4,

    2003. [See DSUMF, ¶ 90].

           53.     Defendants admit Plaintiff so testified. However, the first time Park County Jail

    deputies reported any inmates in D-Pod experiencing any symptoms of illness was on March 4,

    2003. [See DSUMF, ¶ 90].

           54.     Defendants admit the Plaintiff testified he made a request to see the nurse to an

    unidentified deputy on March 4, 2003, through a detainee interpreter, and was told he could not

    see the nurse until tomorrow. [See Plaintiff’s Dep., at 212-217, Pl. Exh. 8].

           55.     Admitted. [See DSUMF, ¶ 90].

           56.     Defendants admit Plaintiff so testified.

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           57.    Defendants admit Nurse Paulsen was not present at the Park County Jail on

    March 4, 2003, due to her scheduled oral surgery. [See Paulsen Dep., at 63-64, Pl. Exh. 10].

           58.    Defendants admit Plaintiff so testified.

           59.    Defendants admit Plaintiff’s brother so testified.

           60.    Defendants admit Deputy Allen so testified.

           61.    Defendants admit Deputy Allen so testified.

           62.    Defendants admit Deputy Allen so testified.

           63.    Defendants admit Plaintiff so testified.

           64.    Admitted. [See DSUMF, ¶¶ 96-97].

           65.    Defendants admit Plaintiff was seen by Nurse Paulsen on March 6, 2003,

    complaining of aches, headache, nausea, diarrhea, nasal congestion and a sore throat.

    Defendants admit Nurse Paulsen treated Plaintiff on March 6, 2003, by providing him with over-

    the-counter medications of Motrin/Ibuprofen for body aches and headache, Chlortrimeton

    (CTM) for nasal congestion, and Pepto Bismol for nausea. [See DSUMF, ¶¶ 96-97].

           66.    Defendants admit Plaintiff was seen by Nurse Paulsen on March 7, 2003,

    complaining of headache, nausea, vomiting, body aches, diarrhea and nasal congestion.

    Defendants admit Nurse Paulsen treated Plaintiff on March 7, 2003, by continuing the over-the-

    counter medications of Motrin/Ibuprofen for body aches and headache, Chlortrimeton (CTM) for

    nasal congestion, and Pepto Bismol for nausea. [See DSUMF, ¶¶ 104-105]. Defendants deny

    the allegation Nurse Paulsen told Plaintiff again he was suffering altitude sickness; the only

    source Plaintiff cites for this information is the inadmissible hearsay testimony of Abraham




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    Carranza-Reyes, who testified his brother reported to him Nurse Paulsen told his brother he was

    suffering from altitude sickness. [See Abraham Carranza-Reyes Dep., at 154, Pl. Exh. 9].

           67.      Admitted. [See DSUMF, ¶ 113].

           68.      Admitted except that Deputy Fikejs not Deputy Frye, contacted Nurse Paulsen by

    telephone concerning the Plaintiff.   [See DSUMF, ¶¶ 115-116].

           69.      Admitted. [See DSUMF, ¶¶ 115-116].

           70.      Defendants admit Plaintiff so testified. However, Deputy Frye did not record

    these actions of the Plaintiff in his incident report. [See Frye Incident Report, 3/8/03, Exh. A-

    33].

           71.      Defendants admit Deputy Frye observed the Plaintiff several times between 5:20

    a.m. an 6:40 a.m. on his pod walks “kneeling on the floor with his upper body on the bunk. This

    indicated signs of discomfort.” [See Frye Incident Report, 3/8/03, Exh. A-33; Frye Dep., at 113,

    Pl. Exh. 13].

           72.      Defendants admit Nurse Paulsen arrived at the Jail at approximately 8:00 a.m. on

    March 8, 2003. At 8:10 a.m. on March 8, 2003, Plaintiff collapsed to the floor of D-Pod. Nurse

    Paulsen was called to check on the Plaintiff. Nurse Paulsen noted Plaintiff had acute pain on his

    right side over his right kidney, radiating to his right flank and down into the right lower

    abdomen slightly above his groin. Nurse Paulsen had Jail staff move Plaintiff to the lower tier of

    D-Pod for his safety. Nurse Paulsen also spoke with Ben Baca at INS and received permission to

    transport Plaintiff for evaluation by a physician if his condition worsened. When Mr. Baca asked

    Nurse Paulsen what she thought Plaintiff’s problem was she responded that it could be anything

    from possibly kidney stones to gall bladder to something else. [See DSUMF, ¶¶ 120-121].


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           73.     Defendants admit Plaintiff so testified.

           74.     Admitted. [See DSUMF, ¶ 124].

           75.     Plaintiff’s statement of facts in ¶ 75 are not complete, as they omit the following

    undisputed facts: At 8:10 a.m. on March 8, 2003, Plaintiff fell to the floor of D-Pod. Nurse

    Paulsen was called to check on the Plaintiff. Nurse Paulsen noted Plaintiff had acute pain on his

    right side over his right kidney, radiating to his right flank and down into the right lower

    abdomen slightly above his groin. Nurse Paulsen had Jail staff move Plaintiff to the lower tier of

    D-Pod for his safety. Nurse Paulsen also spoke with Ben Baca at INS and received permission to

    transport Plaintiff for evaluation by a physician if his condition worsened. When Mr. Baca asked

    Nurse Paulsen what she thought Plaintiff’s problem was she responded that it could be anything

    from possibly kidney stones to gall bladder to something else. [See DSUMF, ¶¶ 120-121].

           76.     At 8:53 a.m. on March 8, 2003, Corporal Crawford noted Plaintiff had a small

    amount of blood in his saliva. [See DSUMF, ¶ 125].

           77.     Admitted except that Nurse Paulsen testified that at the time, the two main things

    she was considering to be the likely cause of Plaintiff’s condition was kidney or appendix,

    although she thought it could be many other things. [See Paulsen Dep., at 112, Pl. Exh. 10].

           78.     Admitted.

           79.     Admitted. [See DSUMF, ¶ 127].

           80.     Defendants admit Plaintiff so testified.

           81.     Defendants admit Plaintiff so testified.

           82.     Admitted. [See DSUMF, ¶ 130].

           83.     Admitted.


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           84.     Admitted.

           85.     Denied. Dr. Keeling testified that he was not entirely sure whether Plaintiff was

    unstable when he arrived at Summit Medical Center or when the vital signs referenced by the

    Plaintiff were taken. [See Keeling Dep., at 95-96, Pl. Exh. 17].

           86.     Admitted.

           87.     Defendants admit Dr. Keeling prescribed antibiotics, oxygen, IV fluids and

    potassium chloride for the Plaintiff.     However, Dr. Keeling did not testify he made those

    prescriptions to stabilize Plaintiff for transfer to Denver Health Medical Center. [See Keeling

    Dep., at 28-29, Pl. Exh. 17].

           88.     Defendants admit Nurse Paulsen testified, in light of Plaintiff’s report to Summit

    Medical that he had chest pains and shortness of breath for three days, that she “guessed”

    Plaintiff had pneumonia for those three days.        [See Paulsen Dep., at 149, Pl. Exh. 10].

    Defendants deny Nurse Paulsen agreed that Plaintiff’s complaints to her on March 6 “were signs

    and symptoms of the beginning of a septic condition or sepsis.” To the contrary, Nurse Paulsen

    agreed only that symptoms such as general body aches, headaches, nausea, diarrhea, and a red

    sore throat were possible signs and symptoms of the beginning of a septic condition or sepsis.

    [See Paulsen Dep., at 81, Pl. Exh. 10].

           89.     Admitted, except Mr. Rowher lacks personal knowledge of Plaintiff’s condition

    upon Plaintiff’s arrival at Summit Medical Center since Mr. Rowher was not present at that time.

    [See Rowher Dep., at 17-32, Pl. Exh. 18; Summit Ambulance Service Prehospital Care Report,

    3/8/03, Exh. A-38].




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           90.     Admitted.    However, Plaintiff’s references to Dr. Markovchick’s deposition

    testimony are incomplete. [See also Markovchick Dep., at 28, Exh. A-45].

           91.     Admitted. However, Plaintiff’s references to Dr. Douglas’ deposition testimony

    are incomplete. [See generally Douglas Dep., at 16-44, Pl. Exh. 20].

           92.     Admitted. However, Plaintiff’s references to Dr. Douglas’ deposition testimony

    are incomplete. [See generally Douglas Dep., at 16-44, Pl. Exh. 20].

           93.     Admitted.

           94.     Denied. Dr. Douglas did not testify that Plaintiff got Streptococcus A March 1,

    2003, or later. In fact, Dr. Douglas specifically testified when Plaintiff got Streptococcus A was

    not knowable, as follows:

           Q:      If—is it possible that Mr. Carranza-Reyes—let me ask it a different way.
                   Streptococcus A, okay? Can one get streptococcus A and it lie dormant in one’s
                   body for any period of time before there would be any manifestation of symptoms
                   about that infection?

           A.      So that is a matter of conjecture and a matter of scientific research, and the reason
                   is, there is no question that, as I stated an hour ago, any one of us could be
                   harboring a streptococcus A in our throat. Whether that is the bug that then
                   ultimately becomes invasive or, more likely, there is a second organism that is
                   gained, is a matter of conjecture, is a matter or area of scientific research. And I
                   don’t know that we have a conclusive answer in general or in specific in this case.

                   I think it’s very clear that super infection, new infections happen all the time, and
                   we have very good data there. One school will get the bug and it goes from
                   school to sibling to home to community, and it’s all the same fingerprint of the
                   bug. That clearly is what’s called horizontal transmission, and there’s no question
                   those are all new infections. The question you’re asking is, could you have that
                   bug in your throat and it gains a new mutation that makes it invasive, and that is
                   the area that is of scientific debate, and the answer is it’s possible but nobody
                   knows for sure.

           Q.      The reason I’m asking, not to hide the ball from you, so you understand, Mr.
                   Carranza-Reyes hit the Park County jail March 1.


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          A.   Okay.

          Q.   Okay? The—this lawsuit in part is about whether he contacted streptococcus A
               and the other things that he got that you treated him for during the time he was in
               the Park County jail.

          A.   I understand.

          Q.   Is there any way, based on your understanding of the infectious mechanism of
               what you treated him for, to tell one way or the other?

          A.   Well, let’s look at that. There’s a seven-day period of time between the time that
               he’s in an environment and he presents with the symptoms. That’s the most I can
               say. Yeah, that’s consistent with an incubation period for new exposure.

               Other evidence of horizontal transmission in the environment would be
               suggestive. In other words, if there were others that got sick around the same
               time that would be strong evidence that there was concomitant contraction in an
               environment.

               Comparable symptoms, now, for example, if the other—the bug elaborated the
               same toxin and made people similarly sick, not always the case but that would be
               suggestive. And then, you know, if there were sophisticated tests available where
               they all had the same genetic fingerprints, even more consistent.

               I think the time course and the question of whether others in the same
               environment had exposure or there was an identified common source, those would
               be important pieces of information to make that determination.

          Q.   But absent that kind of information, can you, based on what you know, say he got
               it March 1 or later?

          A.   Your question has a tautology in it which I can’t resolve. Yes, he must have got it
               on March 1 or later, because those are the only times he got it. The question is,
               did he get it before that? I can’t answer that question. Did he have it sometime
               within the seven days he came to the hospital? I mean, just based on the natural
               biology, the answer is yes.

          Q.   Well, based on the natural biology, could he have gotten it February 24?

          A.   I can’t exclude that.

          Q.   Okay. Based on the current scientific understanding and your knowledge of it,
               about streptococcus A, you can’t exclude that possibility?

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           A.      I can’t exclude that possibility.

    [See Douglas Dep., at 107-110, Pl. Exh. 20].

           95.     Admitted.    However, Dr. Douglas has no personal knowledge of Plaintiff’s

    condition during his detention in the Park County Jail.

           96.     Defendants admit the Communicable Diseases Policy was in effect at the Park

    County Jail in March 2003. Defendants state the Communicable Diseases Policy in its entirety,

    including the brief excerpt quoted by the Plaintiff, speaks for itself.    [See Communicable

    Diseases Policy, Pl. Exh. 21].

           97.     Defendants admit the Communicable Diseases Policy was in effect at the Park

    County Jail in March 2003. Defendants state the Communicable Diseases Policy in its entirety,

    including the brief excerpt quoted by the Plaintiff, speaks for itself.    [See Communicable

    Diseases Policy, Pl. Exh. 21].

           98.     Defendants admit the Communicable Diseases Policy was in effect at the Park

    County Jail in March 2003. Defendants state the Communicable Diseases Policy in its entirety,

    including the brief excerpt quoted by the Plaintiff, speaks for itself.    [See Communicable

    Diseases Policy, Pl. Exh. 21]. Plaintiff’s reference to the Communicable Diseases Policy in this

    paragraph is not entirely accurate. The referenced excerpt actually states: “The disposition

    protocol should indicate what to do if you suspect that an inmate has such a disease; generally,

    the protocol will indicate that he or she should be isolated from other inmates.”          [See

    Communicable Disease Policy, Pl. Exh. 21].

           99.     Defendants admit the Communicable Diseases Policy was in effect at the Park

    County Jail in March 2003. Defendants state the Communicable Diseases Policy in its entirety,

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    including the brief excerpt quoted by the Plaintiff, speaks for itself.    [See Communicable

    Diseases Policy, Pl. Exh. 21].

           100.    Defendants admit the Communicable Diseases Policy was in effect at the Park

    County Jail in March 2003. Defendants state the Communicable Diseases Policy in its entirety,

    including the brief excerpt quoted by the Plaintiff, speaks for itself.    [See Communicable

    Diseases Policy, Pl. Exh. 21].

           101.    Defendants admit the Communicable Diseases Policy was in effect at the Park

    County Jail in March 2003. Defendants state the Communicable Diseases Policy in its entirety,

    including the brief excerpt quoted by the Plaintiff, speaks for itself.    [See Communicable

    Diseases Policy, Pl. Exh. 21].

           102.    Defendants admit the Communicable Diseases Policy was in effect at the Park

    County Jail in March 2003. Defendants state the Communicable Diseases Policy in its entirety,

    including the brief excerpt quoted by the Plaintiff, speaks for itself.    [See Communicable

    Diseases Policy, Pl. Exh. 21].

           103.    Sheriff Wegener did not recognize the Communicable Disease Policy during his

    deposition and had no personal knowledge it was actually in effect in March 2003 so any

    testimony from Sheriff Wegener concerning the Communicable Diseases Policy is inadmissible.

    [See Wegener Dep., at 76-80, Exh. A-42]. Defendants admit the facts concerning Deputy Frye

    except the following: Deputy Frye testified he reported Plaintiff’s condition to control, who in

    turn reported it to Nurse Paulsen, and the jail deputies received instructions concerning the

    treatment of the Plaintiff from Nurse Paulsen. [See Frye Dep., at 57-60 & 65-68, Pl. Exh. 13;

    Frye Dep., at 61-64, Exh. A-46].


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           104.    Sergeant Flint was not aware of any detainees with any symptoms of illness on

    March 6, 2003. Therefore he lacks personal knowledge of any symptoms reported to Nurse

    Paulsen so his testimony is inadmissible. [See Flint Dep., at 85-87, Pl. Exh. 23]. 2 Defendants

    admit the remaining facts in paragraph 104. [See DSUMF, ¶¶ 89-90; Defendants’ Response to

    Plaintiff’s Statement of Additional Disputed and Undisputed Facts, ¶ 46].

           105.    Admitted.

           106.    Defendants deny Plaintiff’s characterization of Sergeant Flint’s testimony.

    Defendants admit Sergeant Flint testified “It would be a possibility” in response to the inquiry

    whether anyone who had read the Communicable Diseases Policy would have been alerted to a

    possible communicable disease based on Plaintiff exhibiting symptoms of headaches, coughing,

    diarrhea, sore throat and joint pain. [See Flint Dep., at 100, Pl. Exh. 23].

           107.    Admitted except that Nurse Paulsen testified the Colorado Department of

    Corrections regulations required one toilet for every 12 inmates. [See Paulsen Dep., at 44, Pl.

    Exh. 10].

           108.    Defendants admit on the visit of March 6, Plaintiff presented to Nurse Paulsen

    with complaints of general body aches, headache, nausea, diarrhea, nasal congestion, a slightly

    red, sore throat, and that she did not swab his throat. [See Paulsen Dep., at 80-81, Pl. Exh. 10].

    Defendants deny the suggestion that Nurse Paulsen knew Plaintiff’s red throat was a sign of a

    strep infection or the beginning of a septic condition or sepsis, as she did not testify to this fact.

    To the contrary, Nurse Paulsen testified a slightly red throat was a “possible” sign of a strep



           2
             Plaintiff incorrectly refers to Sergeant Flint’s deposition as Exhibit 22 when it is really
    Exhibit 23 attached to Plaintiff’s Response. [See Plaintiff’s Response, ¶ 104].

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    infection, and that general body aches, a headache, nausea, diarrhea, and a red, sore throat “can

    be” signs and symptoms of the beginning of a septic condition of sepsis. [Id.]. Nurse Paulsen

    further testified Plaintiff’s symptoms were not consistent with a strep infection or sepsis because

    they were not accompanied by a temperature over 101 degrees. [Id. at 83-84]. Nurse Paulsen

    testified because Plaintiff did not have a temperature over 101, she did not believe he had strep

    or a septic condition and therefore did not consider calling Dr. Bachman about Plaintiff. [Id.].

           109.    Admitted.     However, Plaintiff’s references to Nurse Paulsen’s deposition

    testimony are incomplete. [See Paulsen Dep., at 93-97, Pl. Exh. 10].

           110.    Defendants admit Nurse Paulsen does not recall segregating detainees from Pod-

    D because of a possible communicable disease. However, Nurse Paulsen testified “[t]hey could

    be left there, yes,” in response to the question of whether detainees would be left in Pod-D if they

    had symptoms of flu or an infection. [See Paulsen Dep., at 158-159, Pl. Exh. 10].

           111.    Admitted. However, Nurse Paulsen’s post-incident request for a rapid strep test

    and the alleged response is irrelevant and inadmissible evidence. See Fed. R. Evid. 407.

           112.    Defendants admit Dr. Bachman served as the physician overseeing medical care

    at the Park County Jail in March 2003. [See DSUMF, ¶ 8]. Defendants admit Dr. Bachman was

    not consulted concerning the Plaintiff before he was transported to Summit Medical Center.

    Defendants admit Dr. Bachman expected Nurse Paulsen to call him when anything unusual

    medically was happening at the Jail. [See Bachman Dep., at 115-116, Pl. Exh. 24].

           113.    Defendants admit on March 7, 2003, at 3:45 p.m., the INS picked up 51 detainees

    from the Park County Jail leaving 10-11 INS detainees in D-Pod on March 8, 2003, the day

    Plaintiff was transported to Summit Medical Center. [See DSUMF, ¶¶ 111-112 & 128-133].


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    Defendants admit Leticia Calzada-Gomez, Consul General of Mexico, wrote to Scott Weber of

    the Immigration and Customs Enforcement on March 10, 2003, following the hospitalization and

    diagnosis of Plaintiff. Defendants admit the letter from the Consul General to the INS, in its

    entirety, not just the limited excerpts quoted by the Plaintiff speaks for itself. [See Calzada-

    Gomez Letter to Weber, 3/10/03, Pl. Exh. 25]. However, the Consul General’s correspondence

    and what occurred after the Plaintiff left the Park County Jail is not relevant. See Fed. R. Evid.

    407. Defendants deny the statement that “none of the sick detainees” at Park County Jail

    received medical care; Plaintiff does not cite supporting evidence for this statement, and the

    source is unknown.     The evidence cited in the previous paragraphs demonstrates Plaintiff

    received medical care at the Park County Jail.

           114.    Admitted. However, events occurring after the Plaintiff left the Park County Jail

    are not relevant. See Fed. R. Evid. 407.

           115.    Admitted. However, events occurring after the Plaintiff left the Park County Jail

    are not relevant. See Fed. R. Evid. 407.

           116.    Admitted.

           117.    Admitted.

           118.    Admitted. However, events occurring after the Plaintiff left the Park County Jail

    are not relevant. See Fed. R. Evid. 407.

           119.    Admitted. However, events occurring after the Plaintiff left the Park County Jail

    are not relevant. See Fed. R. Evid. 407.

           120.    Admitted. However, events occurring after the Plaintiff left the Park County Jail

    are not relevant. See Fed. R. Evid. 407.


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           121.    Admitted. However, events occurring after the Plaintiff left the Park County Jail

    are not relevant. See Fed. R. Evid. 407.

           122.    Admitted, except that Captain Gore testified it was his intent “to run the best jail

    that I could and try to be profitable. If I’m bringing in revenue, then I can put that money back

    in the facility.” [See Gore Dep., at 7, Pl. Exh. 2].

           123.    Admitted.

           124.    Admitted.

           125.    Admitted. However, pursuant to the contract between the INS and Park County,

    INS detainees were not charged for medications or medical visits and were not allowed to work

    outside of the Jail. [See Intergovernmental Service Agreement for Housing Federal Detainees,

    Art. VI, § D & Art. VII, Exh. A-15].

           126.    Defendants admit the Park County Jail billed the INS $38,247.50 for housing INS

    detainees in January 2003, $41,227.00 for housing INS detainees in February 2003, and

    $29,561.60 for housing INS detainees in March 2003. [See Muldoon Letters to US Immigration

    and Naturalization Service, 2/10/03, 3/13/03 & 4/14/03, Pl. Exh. 6]. Defendants deny Pod-D

    was overcrowded.

           127.    Defendants admit Captain Gore testified the Board of County Commissioners was

    happy with the management of the Park County Jail and believed he was doing a good job. [See

    Gore Dep., at 37-38, Pl. Exh. 2]. However, Captain Gore cannot testify about any actual

    knowledge of any member of the Board of County Commissioners and no evidence exists in the

    summary judgment record concerning any such knowledge. Defendants admit Sheriff Wegener

    testified he was accurately quoted in a newspaper article dated November 21, 2003, that the Park


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    County Jail at that time had 142 inmates and 22 of them were from Park County. [See Wegener

    Dep., at 25-26, Pl. Exh. 3].

           128.    Denied. Sheriff Wegener did not accept the accuracy of the statement as a whole.

    Instead, he testified as follows:

           Q.      And then it says, “Gore has managed the jail for the last three years, building its
                   profit margin each year by bringing in paying prisoners from other counties and
                   agencies.” That accurate, that statement?

           A.      That we’ve been bringing in paying prisoners?

           Q.      Building a profit margin each year by bringing in paying prisoners.

           A.      Yes. We’ve been bringing in paying prisoners.

           Q.      But it’s increasing your profit margin when you’re bringing in paying prisoners,
                   isn’t it?

           A.      It depends. If more staff is needed, then it’s you know, cuts down there. And
                   then more staff means there’s more food that has to be prepared and medical
                   needs, so I don’t know what the profit margin would be.

    [See Wegener Dep., at 27, Pl. Exh. 3].

           129.    Denied. Sheriff Wegener testified some of the bunks in Pod-D could have been

    empty when he took over operation of the Park County Jail. [See Wegener Dep., at 28-29, Pl.

    Exh. 3].

           130.    Admitted. However, the expansion of the Park County Jail occurred after the

    Plaintiff’s detention so it is not relevant. [See Wegener Dep., at 24-27, Exh. A-42].

           131.    Denied.     No practice of overcrowding existed in the Park County Jail for

    detainees in Pod-D at any time. Further, Captain Gore testified since the expansion of the Park

    County Jail, the Jail has not required any detainees to be issued mattresses, but acknowledged the

    possibility that if the INS had a major raid and needed to place INS detainees in the Park County

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    Jail that some detainees could be issued a mattress to sleep on. [See Gore Dep., at 250-252, Pl.

    Exh. 2].

            132.   Defendants admit Sheriff Wegener testified he did not monitor the number of

    inmates held in the Park County Jail following the incident involving the Plaintiff. Defendants

    admit Sheriff Wegener also testified he was not aware of any changes in policy that occurred

    after the incident involving the Plaintiff. However, any policy changes made after the incident

    are irrelevant. See Fed. R. Evid. 407. Sheriff Wegener did not testify about any policy of having

    18 people only in D-Pod and Sheriff Wegener’s interpretation of the architectural drawing he

    was shown proves nothing. See Defendants’ Response to Plaintiff’s Statement of Additional

    Disputed and Undisputed Facts, ¶¶ 3-4.

            133.   Defendants admit a quality improvement committee for the Park County Jail did

    not exist. However, the responsibilities for a quality improvement committee were given to Dr.

    Bachman. [See Gore Dep., at 212-213, Pl. Exh. 2].

            134.   Defendants admit that an infection control committee for the Park County Jail did

    not exist.

            135.   Defendants admit Nurse Paulsen read the Park County Jail Policy and Procedure

    Manual when she became employed at the Jail. [See Paulsen Dep., at 183, Pl. Exh. 10].

    Defendants deny Nurse Paulsen stated she was responsible for any activities as the health

    services administrator because she clearly testified that she did not know who the health services

    administrator was at the time she worked in the Jail. [See Paulsen Dep., at 184-185, Pl. Exh. 10].

            136.   Defendants admit Nurse Paulsen testified she was concerned after finding out that

    committees referenced in the Policy and Procedure Manual did not exist. However, Defendants


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    deny Nurse Paulsen asked anyone about their absence. Nurse Paulsen actually testified: “I

    believed I asked about it, and nothing was done.” [See Paulsen Dep., at 188, Pl. Exh. 10].

           137.    Defendants admit Nurse Paulsen testified she had concerns about continuity of

    care and implementation of policies at the Park County Jail but she did not raise any such

    concerns with any of the other personnel at the Jail including Captain Gore. Defendants admit

    Nurse Paulsen stated her concerns had something to do with her not returning to work at the Park

    County Jail upon her return to Colorado. [See Paulsen Dep., at 198-200, Pl. Exh. 10].

           138.    Denied. Plaintiff’s expert Manual D. Romero may not appropriately testify any of

    the Defendants violated the Plaintiff’s constitutional rights or were deliberately indifferent to the

    Plaintiff because any such proposed testimony is on the ultimate issue and inappropriately

    invades the province of the jury because it does nothing more than offer a legal conclusion that

    tells the jury what result to reach. Mr. Romero’s proposed expert testimony is not admissible

    and not properly considered on summary judgment. See, e.g., United States v. Wood, 207 F.3d

    1222, 1236 n. 10 (10th Cir. 2000) (noting the Tenth Circuit precludes experts from testifying as to

    ultimate issues of law in civil cases and citing Woods v. Lecureux, 110 F.3d 1215, 1219-20 (6th

    Cir. 1997) as “holding an expert could not testify that defendant acted with deliberate

    indifference because that mental state was an element of the alleged statutory violation); Salas v.

    Hermosillo, 980 F.2d 299, 305 (5th Cir. 1992) (excluding proffered expert testimony on

    deliberate indifference of defendant for purposes of summary judgment); Woodhull v. County of

    Kent, 2006 U.S. Dist. Lexis 54028 at *9 (W.D. Mich. Aug. 3, 2006) (“No one, including an

    expert, can delve into a defendant’s subjective state of mind. Objective facts and circumstances

    may provide evidence of a defendant’s state of mind, but conclusory statements that a defendant


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    acted with deliberate indifference do not assist the trier of fact. Proffered expert testimony

    generally will not help the trier of fact when it offers nothing more than what lawyers for the

    parties can argue in closing arguments. Deliberate indifference is a legal term. An expert may

    not opine on the question of deliberate indifference because this expresses a legal conclusion.”;

    citations and internal quotation marks omitted) (unpublished disposition attached as Exh. A-47).

           139.    The qualifications and alleged expertise of Plaintiff’s expert Robert B. Greifinger,

    M.D. are irrelevant unless he can present admissible evidence for summary judgment purposes.

           140.    The qualifications and alleged expertise of Plaintiff’s expert Robert B. Greifinger,

    M.D. are irrelevant unless he can present admissible evidence for summary judgment purposes.

           141.    Denied. Dr. Greifinger’s causation opinions are the subject of the Defendants’

    pending Motion to Limit Expert Testimony by Michael S. Niederman, M.D. and Robert B.

    Greifinger filed on January 2, 2007. Dr. Greifinger’s causation opinions cannot be considered

    for purposes of summary judgment until this Court rules on their admissibility.

           142.    Denied. Dr. Greifinger’s causation opinions are the subject of the Defendants’

    pending Motion to Limit Expert Testimony by Michael S. Niederman, M.D. and Robert B.

    Greifinger filed on January 2, 2007. Dr. Greifinger’s causation opinions cannot be considered

    for purposes of summary judgment until this Court rules on their admissibility.

           143.    Denied.     Dr. Greifinger’s opinions concerning the Board of County

    Commissioners of Park County are inadmissible for summary judgment purposes.                   See

    Defendants’ Response to Plaintiff’s Statement of Additional Facts, ¶ 138.




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           144.     Denied. Dr. Greifinger’s opinions concerning Sheriff Wegener are inadmissible

    for summary judgment purposes.          See Defendants’ Response to Plaintiff’s Statement of

    Additional Facts, ¶ 138.

           145.     Denied. Dr. Greifinger’s opinions concerning Captain Gore are inadmissible for

    summary judgment purposes. See Defendants’ Response to Plaintiff’s Statement of Additional

    Facts, ¶ 138.

           146.     The qualifications and alleged expertise of Plaintiff’s expert Robert B. Greifinger,

    M.D. are irrelevant unless he can present admissible evidence for summary judgment purposes.

           147.     Denied. Dr. Greifinger’s opinions concerning Nurse Paulsen are inadmissible for

    summary judgment purposes. See Defendants’ Response to Plaintiff’s Statement of Additional

    Facts, ¶ 138.

           148.     The qualifications and alleged expertise of Plaintiff’s expert Catherine M. Knox,

    R.N. are irrelevant unless she can present admissible evidence for summary judgment purposes.

           149.     Denied. Ms. Knox’s opinions concerning Nurse Paulsen are inadmissible for

    summary judgment purposes. See Defendants’ Response to Plaintiff’s Statement of Additional

    Facts, ¶ 138.

           150.     Denied. The qualifications and alleged expertise of Plaintiff’s expert Michael S.

    Niederman, M.D. are irrelevant unless he can present admissible evidence for summary

    judgment purposes. Dr. Niederman’s causation opinions are the subject of the Defendants’

    pending Motion to Limit Expert Testimony by Michael S. Niederman, M.D. and Robert B.

    Greifinger filed on January 2, 2007. Dr. Niederman’s causation opinions cannot be considered

    for purposes of summary judgment until this Court rules on their admissibility.


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           151.    Dr. Niederman’s causation opinions are the subject of the Defendants’ pending

    Motion to Limit Expert Testimony by Michael S. Niederman, M.D. and Robert B. Greifinger

    filed on January 2, 2007. Dr. Niederman’s causation opinions cannot be considered for purposes

    of summary judgment until this Court rules on their admissibility.

           152.    Dr. Niederman’s causation opinions are the subject of the Defendants’ pending

    Motion to Limit Expert Testimony by Michael S. Niederman, M.D. and Robert B. Greifinger

    filed on January 2, 2007. Dr. Niederman’s causation opinions cannot be considered for purposes

    of summary judgment until this Court rules on their admissibility.

                                              ARGUMENT

           The Board of County Commissioners of Park County, Sheriff Fred Wegener, and Captain

    Monte Gore are entitled to summary judgment on all of Plaintiff’s remaining 42 U.S.C. § 1983

    claims. None of the arguments, authorities or evidence presented by the Plaintiff alter the propriety

    of summary judgment for these Defendants in this matter. First, the Board is not liable to the

    Plaintiff. Initially, under Colorado law, the Board is not appropriately held liable to the Plaintiff

    because it lacks oversight responsibility over the operations of the Park County Jail. Further, no

    custom, policy or practice attributable to the Board caused the Plaintiff any injury. Second, Sheriff

    Wegener is entitled to qualified immunity from the Plaintiff’s 42 U.S.C. § 1983 claims against him

    in his individual capacity because Plaintiff demonstrates no personal participation by the Sheriff in

    any alleged constitutional violation or that the Sheriff participated in any violation of Plaintiff’s

    constitutional rights as the official ultimately responsible for the Park County Jail. Third, Sheriff

    Wegener in his official capacity cannot be held liable because Plaintiff demonstrates no custom,

    policy or practice of the Park County Jail violated his constitutional rights. Fourth, Captain More


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    Gore is also entitled to qualified immunity from Plaintiff’s claims against him in his individual

    capacity because Captain Gore never personally participated in any alleged violation of Plaintiff’s

    constitutional rights and also never violated Plaintiff’s constitutional rights as a supervisor as Jail

    Administrator for the Park County Jail. Careful review by this Court of the actual facts established

    by the Plaintiff with admissible evidence and contained in the summary judgment record before this

    Court against the background of the applicable legal principles demonstrates summary judgment is

    appropriate for these Defendants as a matter of law.

            I. THE BOARD OF COUNTY COMMISSIONERS OF PARK COUNTY
           HAS NO SUPERVISORY RESPONSIBILITY OVER THE PARK COUNTY
           JAIL AS A MATTER OF COLORADO LAW AND NO CUSTOM, POLICY
              OR PRACTICE OF THE BOARD OF COUNTY COMMISSIONERS
                  VIOLATED PLAINTIFF’S CONSTITUTIONAL RIGHTS

           Plaintiff’s 42 U.S.C. § 1983 claims against the Board of County Commissioners of Park

    County (“Board”) fail for two distinct reasons. First, under Colorado law, the Board is not

    responsible for the operations of the Park County Jail. Second, no custom, policy or practice of

    the Board violated any of Plaintiff’s constitutional rights. [See Defendants’ MSJ, at 22-29].

    Plaintiff’s Response attempts to avoid the impact of these two principles on his claims against

    the Board.    [See Plaintiff’s Response, at 33-37].       However, examination of the Plaintiff’s

    arguments and authorities demonstrates no basis exists to hold the Board liable here.

           First, Plaintiff asserts three Colorado statutory provisions support the Plaintiff’s

    conclusion the Board is responsible for the operations of the Park County Jail. [See Plaintiff’s

    Response, at 33]. Initially, Plaintiff relies upon C.R.S. § 30-11-107(2)(a), which provides:

                  (2)(a) Subject to the provisions of part 1 of article 1 of title 29, C.R.S., the
           board of county commissioners of each county has exclusive power to adopt the
           annual budget for the operation of the county government, including all offices,
           departments, boards, commissions, other spending agencies of the county

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           government, and other agencies which are funded in whole or in part by county
           appropriations. All such entities shall make appropriate budget recommendations
           each year to the board of county commissioners for the operation of their
           respective offices; but the final budget determination of each board of county
           commissioners shall be binding upon each of the respective offices, departments,
           boards, commissions, other spending agencies of the county government, and
           other agencies which are funded in whole or in part by county appropriates.

    C.R.S. § 30-11-107(2)(a). Next, Plaintiff invokes C.R.S. § 30-15-401(1)(f), which states:

                   (1) In addition to those powers granted by sections 30-11-101 and 30-11-
           107 and by parts 1, 2, and 3 of this article, the board of county commissioners has
           the power to adopt ordinances for control or licensing of those matters of purely
           local concern which are described in the following enumerated powers:

           . . . .

                  (f) To use the county jail for the confinement or punishment of offenders,
           subject to such conditions as are imposed by law and with the consent of the
           board of county commissioners.

    C.R.S. § 30-15-401(1)(f). Last, Plaintiff relies upon C.R.S. § 17-26-126, which reads:

                   It is the duty of the board of county commissioners to make personal
           examination of the jail of its county, its sufficiency, and the management thereof
           during each session of the board and to correct all irregularities and improprieties
           therein found.

    C.R.S. § 17-26-126.

           None of the three statutory provisions relied upon by the Plaintiff, however, contradict

    the other statutory provisions cited by the Defendants for the proposition the county sheriff and

    not the board of county commissioners has the authority and responsibility to oversee the

    operations of the county jail. Two Colorado statutes specifically designate the county sheriff as

    the custodian of the county jail and the county official responsible for the operations of the

    county jail. C.R.S. § 30-10-511 provides:




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                   Except as provided in section 16-11-308.5, C.R.S., 3 the sheriff shall have
           charge and custody of the jails of the county, and of the prisoners in the jails, and
           shall supervise them himself or herself or through a deputy or jailer.

    C.R.S. § 30-10-511. And C.R.S. § 17-26-102 states:

                   The sheriff of the county, in person or by deputy appointed for that
           purpose, shall be the keeper of the county jail. He shall be responsible for the
           manner in which the same is kept. He shall see that the same is kept clean, safe,
           and wholesome. The expenses of keeping the jail in good order and repair and of
           lighting and warming that part thereof wherein prisoners are confined and the
           office in the jail shall be paid by the county wherein the jail is situated. Nothing
           in this section shall authorize the lighting or warming of that part of the jail
           occupied by the keeper thereof as a dwelling house.

    C.R.S. § 17-126-102. These two provisions demonstrate the county sheriff is the county official

    responsible for the operations of the county jail. Indeed, elsewhere in the Plaintiff’s Response,

    Plaintiff describes the sheriff “[a]s the person primarily responsible under state law for the

    general management and administration of the jail.” [See Plaintiff’s Response, at 38]. The

    question is whether the statutory provisions relied upon by the Plaintiff--C.R.S. § 30-11-

    107(2)(a); C.R.S. § 30-15-401(1)(f); and C.R.S. § 17-26-126--that provide the Board of County

    Commissioners with budgetary authority, allow the Board to utilize the county jail to house

    offenders, and require the Board to periodically inspect the county jail are sufficient to impose

    responsibility on the board for the operations of the county jail. No question the Board has some

    limited oversight responsibility over the Park County Jail. However, the extent of that oversight

    responsibility does not include the ability to tell the Sheriff how to operate the Jail. None of the

    statutes relied upon by Plaintiff provide the Board any such operational authority over the Jail.



           3
              C.R.S. § 16-11-308.5 provides the Executive Director of the Colorado Department of
    Corrections retains jurisdiction over any person within his or her custody placed pursuant to a
    contract for incarceration in a county jail.

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    Absent that type of authority, the Sheriff, and not the Board, must be considered the county

    official responsible for the operations of the Park County Jail.

           Second, Plaintiff contends the fact Colorado law requires counties be sued in the name of

    the board of county commissioners supports inclusion of the Board here.             [See Plaintiff’s

    Response, at 33]. Plaintiff is correct that C.R.S. § 30-11-105 requires suits against counties in

    Colorado to be brought against the board of county commissioners of the county to be sued. See

    C.R.S. § 30-11-105. However, the fact that Park County must be sued in the name of its board is

    not the equivalent as it being appropriate to hold the Board liable to the Plaintiff here pursuant to

    Plaintiff’s 42 U.S.C. § 1983. Rather, because the Sheriff of Park County is the responsible

    county official for the operations of the Park County Jail, the appropriate recourse for the

    Plaintiff is to sue the Sheriff in his official capacity as the Plaintiff has also done in this

    litigation. Because a suit against the Sheriff in his official capacity is treated as a claim against

    Park County, by suing Sheriff Wegener in his official capacity, the Plaintiff has effectively sued

    Park County. See generally McMillian v. Monroe County, Ala., 520 U.S. 781, 785 n. 2 (1997);

    Kentucky v. Graham, 473 U.S. 159, 165 (1985). However, Plaintiff’s official capacity claim

    against Sheriff Wegener while effectively a claim against Park County, does not require the

    Board to be named as a separate entity pursuant to C.R.S. § 30-11-105 because the Sheriff in his

    official capacity is a suable entity under Colorado law. See, e.g., C.R.S. § 30-10-522; Cortese v.

    Black, 838 F.Supp. 485, 496 (D.Colo. 1993).

           Third, Plaintiff challenges the Defendants’ reliance on Richart v. Board of County

    Commissioners of Boulder County, 33 P.2d 971 (Colo. 1934), and Van Cleave v. Board of

    County Commissioners of the County of Adams, 518 P.2d 1371 (Colo. App. 1973), for the


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    proposition that a board of county commissioners lacks authority over the operations of a county

    jail. [See Plaintiff’s Response, at 33-34]. Plaintiff much too narrowly reads Richart and Van

    Cleave. These decisions, in contrast to the interpretation advanced by Plaintiff, specifically

    compare the authority of a county sheriff in Colorado over the operations of the county jail with

    the limited oversight authority of a board of county commissioners over the county jail. Plaintiff

    is correct that in Richart the Colorado Supreme Court held that when the general powers of the

    county commissioners conflict with the specific powers of the sheriff the sheriff’s specific

    authority must govern.     Richart, 33 P.2d at 972-73.       [See Plaintiff’s Response, at 33-34].

    However, Plaintiff ignores how the Colorado Supreme Court in Richart discussed and applied

    this general legal principle. In Richart, the court concluded: “A sheriff, in his capacity as jailer,

    has a great responsibility, and he cannot perform his duties properly if subject to interference by

    a board of county commissioners.” Richart, 33 P.2d at 973. Further, immediately after this

    statement, the court continued:

           The plaintiff’s [the board of county commissioners] authority under section 8898,
           supra, [the precursor to C.R.S. § 17-26-126] to correct irregularities and
           improprieties found in the jail, does not authorize the plaintiff to dictate to the
           defendant where the defendant shall clean the prisoners and permit consultation
           between them and their lawyers, or to require him to use the room in question for
           such purposes and for no other.

    Richart, 33 P.2d at 973 (alterations added). The clear import of Richart is the Colorado

    Supreme Court concluded the county sheriff, not the board of county commissioners, possesses

    the authority under Colorado law concerning the operations of the county jail. Indeed, this

    interpretation is supported by the Colorado Court of Appeals’ discussion of Richart in Van

    Cleave as follows:




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                    The issue in Richart was whether the board of county commissioners’
           general authority to control the county’s property took precedence over the
           sheriff’s more specific authority, as county jailer, to administer the functioning of
           the jail. The Supreme Court concluded that the board’s general powers must yield
           to the particular powers conferred upon the sheriff with reference to the jail, and
           held that the board had no authority to forbid the defendant [sheriff] from
           occupying the room as part of the sheriff’s living quarters.

    Van Cleave, 518 P.2d at 1373. The Colorado Court of Appeals’ reference to the sheriff’s

    specific authority “to administer the functioning of the jail” describes the sheriff’s responsibility

    over the operations of the jail. Richart and Van Cleave demonstrate the Board has no authority

    over the operations of the Park County Jail under Colorado law making it inappropriate to hold

    the Board liable pursuant to 42 U.S.C. § 1983.

           Fourth, Plaintiff attempts to distinguish Tunget v. Board of County Commissioners of

    Delta County, 992 P.2d 650 (Colo. App. 1999), and Bristol v. Board of County Commissioners

    of the County of Clear Creek, 312 F.3d 1213 (10th Cir. 2002) (en banc), on the ground those

    cases are only applicable to circumstances where a plaintiff attempts to hold a board of county

    commissioners liable on a vicarious liability theory. [See Plaintiff’s Response, at 34 and n. 1].

    Plaintiff’s effort to distinguish these cases is misguided. The purpose in citing these precedents

    was simply to underscore the general principle underlying Richart and Van Cleave that under

    the Colorado Constitution, Colorado statutes, and Colorado case law, sheriffs and boards of

    county commissioners are treated as separate and distinct public entities with different powers

    and responsibilities. Both Tunget and Bristol describe this status under Colorado law and make

    this important point. See Tunget, 992 P.2d at 650-51; Bristol, 312 F.3d at 1219-21.

           Fifth, Plaintiff inappropriately relies upon Robertson v. Board of County Commissioners

    of County of Morgan, 985 F.Supp. 980 (D.Colo. 1997). [See Plaintiff’s Response, at 35]. At


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    issue in Robertson was whether the plaintiffs who were patrol officers, investigators, jail

    officers, and dispatchers who worked under the authority of the Sheriff had standing to sue the

    Board of County Commissioners of Morgan County for alleged violations of the Fair Labor

    Standards Act. Id. at 982 & 984-85. The District Court concluded standing to sue the Board

    existed based on the fact that while the Sheriff designates the salary amount for his employees,

    the Board of County Commissioners must approve the amount of the salaries pursuant to C.R.S.

    § 30-2-106 and also must approve the Sheriff’s overall budget. Id. at 985. Importantly, the

    District Court’s conclusion in Robertson was in the FLSA context which has an extremely broad

    definitions of “employee” and “employer.” See Robertson v. Board of County Commissioners

    of the County of Morgan, 78 F.Supp.2d 1142, 1150-52 (D.Colo. 1999) (addressing whether the

    Board was the plaintiffs’ employer for purposes of the FLSA). Nothing about Robertson,

    however, addresses the respective authority of the sheriff and the board of county commissioners

    concerning the operations of the county jail. As such, the District Court’s statement relied upon

    by the Plaintiff concerning the board’s alleged authority over the sheriff because of its funding

    power adds nothing to the actual issue before this Court concerning the Board’s lack of authority

    over the operations of the Park County Jail.

           Sixth, Plaintiff mistakenly invokes Miller v. Ouray Electric Light & Power Co., 70 P.

    447 (Colo. App. 1902). [See Plaintiff’s Response, at 35]. In Miller, the Colorado Court of

    Appeals addressed whether the precursor to C.R.S. § 17-26-126 provided a basis to hold the

    individual county commissioners liable for a fire that occurred in the county jail allegedly caused

    by defective wiring in the jail. Miller, 70 P. at 447-48. Critically, however, nothing in Miller

    addresses the comparative authority of the county commissioners and the sheriff over the


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    operations of the county jail. Miller, 70 P. at 447-49. Therefore, nothing contained in Miller

    undermines the subsequent decisions in Richart and Van Cleave concerning the lack of authority

    of the Board over the operations of the county jail.

           Seventh, Plaintiff also inappropriately relies upon Winton v. Board of Commissioners of

    Tulsa County, Oklahoma, 88 F.Supp.2d 1247 (N.D. Okla. 2000). [See Plaintiff’s Response, at

    35 & 37]. In Winton, the District Court addressed on summary judgment whether the 42 U.S.C.

    § 1983 claims was appropriate on an inmate’s claims of failure to protect from harm by other

    inmates and denial of medical care. Id. at 1251. Winton is readily distinguish for multiple

    reasons. Initially, Winton never addresses the relationship between or the responsibility over the

    operations of the county jail between the sheriff and the board of county commissioners of Tulsa

    County, Oklahoma. Nothing contained in Winton even suggests the board there made any

    argument akin to the one being made by the Board in this case. Id. at 1252-1270. Further, the

    District Court in Winton repeatedly suggests the county’s liability is based on the fact the sheriff

    is the final policymaker for the county jail. See, e.g., Winton, 88 F.Supp. at 1267 (“The County

    was also aware of the risk because the Sheriff, a final policymaker with respect to jail

    administration, was aware of the risk.”); Winton, 88 F.Supp. at 1270 (“The Sheriff’s actions or

    inactions, as the final policy maker for the Jail, are attributable to the County.”). The District

    Court’s analysis in Winton demonstrates it never attempted to differentiate between the role and

    responsibility of the sheriff and the board over the operations of the county jail. Accordingly,

    Winton is inapposite to the issue presented by the Board here.

           Plaintiff’s reliance on Winton, as well as much of the Plaintiff’s arguments on this issue,

    demonstrate a failure to appreciate the actual argument made by the Board. The Board is not


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    arguing that Park County cannot be held liable for the actions of the Sheriff in his official

    capacity as the final policymaker for the Park County Jail. As discussed above, Defendants

    acknowledge if the Plaintiff prevails on his official capacity claim against Sheriff Wegener the

    nature of an official capacity claim effectively means Park County would be responsible.

    Indeed, Defendants separately address the Plaintiff’s official capacity claim against Sheriff

    Wegener in Section II(B) below.        [See also Defendants’ MSJ, at 39-50].        However, Park

    County’s ultimate potential fiscal responsibility for the Plaintiff’s official capacity claim against

    Sheriff Wegener presents an all together different question than whether the Board itself is

    appropriately held liable to the Plaintiff based on the Board’s lack of authority over the

    operations of the Park County Jail under Colorado law.             Plaintiff’s reliance on Winton

    demonstrates Plaintiff fails to appreciate the important distinction between these two concepts.

           Eighth, Plaintiff asserts there was a custom, policy or practice of the Board that caused

    injury to the Plaintiff. [See Plaintiff’s Response, at 34-35]. The sum total of the Plaintiff’s

    argument concerning the existence of a custom, policy or practice of the Board consists of the

    following:

                   Defendants argue that there was no custom, policy, or practice of the
           Board that caused injury to the Plaintiff. To the contrary, the Board encouraged
           and approved the practice of overcrowding, which created unsanitary conditions
           in Pod D, by approving revenue-producing budgets creating greater and greater
           profits for the county by increasing the number of inmates and detainees through
           contracts approved by the county with state and federal agencies, including the
           INS. In its quest to turn the jail into a county profit center, the Board ignored the
           conditions of confinement created by this practice.

    [See Plaintiff’s Response, at 34-35]. Plaintiff’s assertion of the existence a custom, policy or

    practice of the Board fails any real scrutiny from both a factual and a legal standpoint. Plaintiff

    does not cite to the summary judgment record to support his argument. Review of the Plaintiff’s

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    Statement of Disputed and Undisputed Facts reveals the only facts that reference the Board at all

    are paragraphs 127, 130, 138 and 143. [See Plaintiff’s Statement of Disputed and Undisputed

    Facts, ¶¶ 127, 130, 138 & 143]. None of the facts presented by the Plaintiff, however, establish

    any custom, policy or practice by the Board concerning the Park County Jail. At most, the

    Plaintiff has proven the Board was aware the Park County Jail made a profit and the expansion

    of the Park County Jail was financially feasible with a 50% occupancy rate. [See Plaintiff’s

    Statement of Disputed and Undisputed Facts, ¶¶ 127 & 130]. 4          Nothing the Plaintiff has

    presented establishes the Board actually approved any particular budget for the Park County Jail.

    And even acknowledging the Board undoubtedly did approve such a budget pursuant to C.R.S. §

    30-11-107(2)(a) although never actually established by the Plaintiff, no evidence exists any

    budget for the Park County Jail reviewed or approved by the Board contained any particular

    assumption, requirement, or understanding of the number of INS detainees or other contract

    inmates that would need to be housed in the Park County Jail for the Jail operations to meet

    budget. Absent some evidence along those lines, nothing about the fact the Board may have

    approved a Jail budget establishes any decision-making role by the Board in the number of

    inmates or detainees housed in the Jail generally or specifically during March 1-8, 2003, during

    the Plaintiff’s detention.




            4
               The conclusions of Plaintiff’s experts Manual D. Romero and Robert B. Greifinger,
    M.D. reflected in paragraphs 138 and 143 are not appropriately considered by this Court. [See
    Response Concerning Plaintiff’s Statement of Additional Disputed and Undisputed Facts, ¶¶ 138
    & 143]. However, even if considered by this Court for purposes of summary judgment, nothing
    about the conclusions of Mr. Romero or Dr. Greifinger establishes any additional factual
    predicate for holding the Board of County Commissioners of Park County liable here.

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           Essentially, Plaintiff’s effort to hold the Board liable under a respondeat superior or

    vicarious liability theory premised on the Board’s approval or awareness of the budget of the

    Park County Jail and the need for the Jail to house inmates and detainees pursuant to contracts

    with other governmental agencies to generate revenue. Plaintiff’s attempt runs squarely afoul of

    the United States Supreme Court’s direction that to succeed with a municipal liability claim the

    plaintiff must establish the municipality was the “moving force” in causation terms for the

    alleged injury. “That is, a plaintiff must show that the municipal action was taken with the

    requisite degree of culpability and must demonstrate a direct causal link between the municipal

    action and the deprivation of federal rights.” Board of County Commissioners of Bryan County

    v. Brown, 520 U.S. 397, 404 (1997). Here, Plaintiff has not established any policy decision by

    the Board in reviewing or approving the budget of the Park County Jail or otherwise directly

    caused him any constitutional injury. One could imagine a board making a deliberate policy

    choice concerning the budget for the county jail that could directly impact the jail’s ability to

    provide constitutionally adequate conditions of confinement or services to those detained.

    However, here, Plaintiff has not provided any evidence whatsoever demonstrating any causal

    connection between any specific policy decision made by the Board regarding the Park County

    Jail and the conditions of his confinement at the Jail from March 1-8, 2003. Absent such

    causation evidence, Plaintiff’s claim against the Board fails.

           Ninth, Plaintiff maintains Park County may be held liable for the sheriff’s policies,

    practices and procedures because the sheriff is a final policymaker for Park County and therefore

    his actions are attributable to Park County. [See Plaintiff’s Response, at 36-37]. Defendants

    have not disputed the Sheriff is a final policymaker for Park County. However, again, the issue


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    is not whether Park County is potentially responsible for the Sheriff’s actions based on the

    Plaintiff’s official capacity claim against Sheriff Wegener. Rather, the issue is whether the

    Board is appropriately held liable separate and distinct from the Plaintiff’s official capacity

    claims against Sheriff Wegener. No such liability against the Board is proper here based upon

    all of the above arguments and authorities.

             II. PLAINTIFF STATES NO VIABLE CLAIM FOR ANY ALLEGED
           CONSTITUTIONAL VIOLATION AGAINST SHERIFF FRED WEGENER
                 IN EITHER HIS INDIVIDUAL OR OFFICIAL CAPACITIES

           Plaintiff’s 42 U.S.C. § 1983 claims against Sheriff Wegener in both his official and

    individual capacities fail as a matter of law. First, Sheriff Wegener is entitled to qualified

    immunity from the Plaintiff’s claims against him in his individual capacity because Plaintiff has

    failed to demonstrate Sheriff Wegener violated his constitutional rights either personally or in his

    supervisory capacity as Sheriff.     Second, Plaintiff’s official capacity claim against Sheriff

    Wegener fails because Plaintiff has not proven any custom, policy, or practice of the Park

    County Jail was the moving force behind any violation of his constitutional rights during his

    detention in the Park County Jail from March 1-8, 2003. 5



           5
               Defendants discussed the Plaintiff’s individual and official capacity claims against
    Sheriff Wegener separately in their Motion for Summary Judgment because of the distinct legal
    standards and principles applicable to these different claims. Defendants further divided their
    analysis of the individual capacity claims against Sheriff Wegener in terms of his personal
    participation and his supervisory role as Sheriff. [See Defendants’ MSJ, at 29-50].
    Unfortunately, Plaintiff’s Response does not follow suit and addresses the liability of the Sheriff
    in both his official and individual capacities together. [See Plaintiff’s Response, at 37-48].
    Defendants believe it is of critical importance for this Court in reviewing the parties’ summary
    judgment submissions to differentiate between the individual and official capacity claims against
    Sheriff Wegener and the all together different legal principles applicable to each of them.
    Defendants have attempted to place the Plaintiff’s various scattered arguments with the claims
    that they refer to. However, the nature of the Plaintiff’s arguments has made doing so difficult.

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     A. SHERIFF FRED WEGENER IS ENTITLED TO QUALIFIED IMMUNITY FROM
       THE PLAINTIFF’S CLAIMS AGAINST HIM IN HIS INDIVIDUAL CAPACITY

           Sheriff Wegener is entitled to qualified immunity from the Plaintiff’s 42 U.S.C. § 1983

    claims against him in his individual capacity because Plaintiff cannot demonstrate Sheriff

    Wegener personally participated in any violation of his constitutional rights or violated his

    constitutional rights in his supervisory capacity as Sheriff. [See Defendants’ MSJ, at 35-38].

                      1. SHERIFF FRED WEGENER HAD NO PERSONAL
                     PARTICIPATION WITH RESPECT TO ANY ALLEGED
                 VIOLATION OF THE PLAINTIFF’S CONSTITUTIONAL RIGHTS

           First, Plaintiff alleges the Defendants’ analysis of the Plaintiff’s individual capacity

    claims is somehow limited to only the personal participation of Sheriff Wegener rather than his

    role as a supervisor. [See Plaintiff’s Response, at 44-47]. Plaintiff’s argument is perplexing

    because the Defendants’ MSJ contained separate sections addressing Sheriff Wegener’s potential

    liability based on his own personal participation as well as his potential liability in his

    supervisory capacity as Sheriff. [See Defendants’ MSJ, at 35-37 (personal participation) and 37-

    38 (supervisory capacity)].      Indeed, in their discussion of Sheriff Wegener’s potential

    supervisory liability to the Plaintiff, Defendants quote the same language employed by the Tenth

    Circuit relied upon by Plaintiff. [Compare Defendants’ MSJ, at 37-38 with Plaintiff’s Response,

    at 44-45].

           Second, Plaintiff challenges the proposition to hold Sheriff Wegener liable to Plaintiff in

    his individual capacity, Plaintiff must demonstrate Sheriff Wegener knew of and disregarded an

    excessive risk of harm to Plaintiff. Plaintiff does so by suggesting that Lankford v. City of

    Hobart, 73 F.3d 283, 297 (10th Cir. 1996), is a Title VII employment discrimination case. [See

    Plaintiff’s Response, at 47]. Plaintiff seriously misreads Lankford. Initially, Lankford is clearly

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    both a Title VII and a 42 U.S.C. § 1983 case. See Lankford, 73 F.3d at 285 (“Plaintiffs now

    appeal the dismissal of their § 1983 and Title VII claims against the City of Hobart.”). Further,

    the Defendants’ reference to Hobart clearly supports the notion that actual knowledge not

    constructive knowledge is required. [See Defendants’ MSJ, at 38]. Defendants rely on the

    following passage from Lankford to support this proposition:

                   Plaintiffs also allege that Hobart city officials knew or should have known
           of Mr. Medrano’s conduct yet failed to take appropriate measures. In Woodward
           v. City of Worland, 977 F.2d 1392, 1400 (10th Cir. 1992), cert. denied, 113 S.Ct.
           3038 (1993), we adopted the Third Circuit’s test for supervisory liability under §
           1983 as requiring “allegations of personal direction or of actual knowledge and
           acquiescence.” Id.

    Lankford, 73 F.3d at 287. Moreover, the actual knowledge requirement adopted by the Tenth

    Circuit is not limited to Lankford, but appears in a variety of other cases relied upon by the

    Defendants such as Craig v. Eberly, 164 F.3d 490, 495 (10th Cir. 1998); Barney v. Pulsipher,

    143 F.3d 1299, 1310 (10th Cir. 1998). [See Defendants’ MSJ, at 31].

           Third, Plaintiff argues Sheriff Wegener “participated in the violation of Plaintiff’s

    constitutional rights both individually and in his supervisory capacity as sheriff of Park County

    by permitting the practice of overcrowding in Pod D in violation of the jail’s own policies, which

    resulted in filthy and unsanitary conditions and the prevalence of illness among detainees.” [See

    Plaintiff’s Response, at 37-38]. To support this conclusion, Plaintiff asserts Sheriff Wegener

    “was aware of the limitation on number of inmates that could be housed in Pod D, he walked

    through the facility every two weeks and was aware of the total number of inmates being housed,

    and acquiesced in the custom and practice of overcrowding, which created unsanitary and filthy

    conditions.”   [See Plaintiff’s Response, at 38].     Unfortunately, Plaintiff refers to nothing

    contained in the summary judgment record to support Sheriff Wegener’s personal participation

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    in the manner asserted by the Plaintiff. Review of the actual facts established in the summary

    judgment record, however, belies any conclusion Sheriff Wegener personally participated in any

    violation of Plaintiff’s constitutional rights.

            At best, Plaintiff has established that the Park County Jail Policy and Procedure Manual

    had a requirement that inmates housed in the Jail have at least 80 square feet of total living space

    per occupant.     [See Defendants’ Response Concerning Plaintiff’s Statement of Additional

    Undisputed and Disputed Facts, ¶¶ 1-4]. However, Plaintiff has not presented any evidence that

    Sheriff Wegener had any actual knowledge that this Jail policy was being violated based on the

    number of detainees housed in D-Pod. Plaintiff has also established Sheriff Wegener walked

    through the Park County Jail approximately once every two weeks. [See Defendants’ Response

    Concerning Plaintiff’s Statement of Additional Undisputed and Disputed Facts, ¶ 5]. And

    Plaintiff has demonstrated Sheriff Wegener had access to the total number of inmates housed in

    the Park County Jail at any given time. [See Defendants’ Response Concerning Plaintiff’s

    Statement of Additional Undisputed and Disputed Facts, ¶ 5]. However, what Plaintiff has not

    proven, and has absolutely no evidence concerning, is any actual and specific awareness by

    Sheriff Wegener of the number of inmates housed in D-Pod during the Plaintiff’s detention

    between March 1-8, 2003, or at any other time. Plaintiff also has not proven, and has absolutely

    no evidence, Sheriff Wegener knew any prior problem existed in the Park County Jail or D-Pod

    of any kind even remotely analogous to what Plaintiff alleges occurred to him there based on the

    number of inmates incarcerated in the Jail generally or D-Pod specifically. Further, Plaintiff has

    no evidence Sheriff Wegener was aware of any prior practice in the Jail not to follow the Jail

    policy of providing 80 square feet of living space to all inmates before the Plaintiff’s detention.


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    Finally, Plaintiff has no evidence Sheriff Wegener ever personally observed any conditions in D-

    Pod that he concluded were overcrowded.

           Absent any admissible evidence contained in the summary judgment record concerning

    the above critical facts concerning Sheriff Wegener’s actual knowledge concerning the

    conditions of the Park County Jail including the number of detainees housed in D-Pod, no basis

    exists to hold Sheriff Wegener individually liable pursuant to 42 U.S.C. § 1983.

           Fourth, Plaintiff contests the Defendants’ analysis that individuals who are not medically

    trained are entitled to rely on the medical treatment decisions of medical professions. [See

    Plaintiff’s Response, at 42-44 & 48]. However, Plaintiff’s effort to distinguish or limit the

    precedents relied upon by the Defendants for this unremarkable proposition fails. Plaintiff is

    correct that the Tenth Circuit in McCraken v. Jones, 562 F.2d 22 (10th Cir. 1997), addressed the

    issue of when a warden could rely on medical treatment decisions by medical professionals in

    the factual context of the inmate having been seen by a physician working at a hospital. Id. at

    24. However, nothing about the Tenth Circuit’s discussion in McCraken evidences any intent to

    limit the proposition that a prison official may rely upon the medical treatment decisions of a

    medical professional to hospital physicians.         Indeed, the other cases relied upon by the

    Defendants for this general proposition do not limit its application in the manner advanced by the

    Plaintiff. See, e.g., Johnson v. Dougherty, 433 F.3d 1001, 1012 (7th Cir. 2006) (“A non-medical

    prison official, such as Jones, cannot be held deliberately indifferent simply because he failed to

    respond directly to the medical complaints of a prisoner who was already being treated by the

    prison doctor.”); Spruill v. Gillis, 372 F.3d 218, 236 (3d Cir. 2004) (“Accordingly, we conclude

    that, absent a reason to believe (or actual knowledge) that prison doctors or their assistants are


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    mistreating (or not treating) a prisoner, a non-medical prison official like Gooler will not be

    chargeable with the Eighth Amendment scienter requirement of deliberate indifference.”).

    Plaintiff is again correct that this Court does not have to rely on Circuit Courts of Appeal

    decisions from outside the Tenth Circuit. However, Plaintiff offers no persuasive reason why

    this Court should not do so. Indeed, the underlying analysis of these decisions demonstrates it

    has equal applicability to a sheriff being able to rely on the professional judgment of a prison

    nurse. See, e.g., Spruill, 372 F.3d at 236 (describing the policy reasons why non-medical prison

    officials should not have disincentives placed on them not to delegate to medical prison officials

    concerning the medical care of prisoners).

           Finally, even assuming this Court does not apply the above precedent to hold Sheriff

    Wegener could reasonably rely upon Nurse Paulsen’s medical judgments, Plaintiff’s claim

    against Sheriff Wegener based on the medical care he received during his detention in the Park

    County Jail still cannot succeed. Defendants argued “no evidence exists Sheriff Wegener was

    aware of any medical issue or concern involving the Plaintiff or any other detainees in D-Pod at

    the Park County Jail from March 1-8, 2003.” [See Defendants’ MSJ, at 37]. Plaintiff offers

    nothing to rebut this argument and none of the facts presented by the Plaintiff demonstrate

    Sheriff Wegener had any knowledge whatsoever in any medical care provided to the Plaintiff or

    not provided to the Plaintiff during his detention in the Park County Jail.

            2. SHERIFF FRED WEGENER DID NOT VIOLATE THE PLAINTIFF’S
               CONSTITUTIONAL RIGHTS IN HIS SUPERVISORY CAPACITY

           First, Plaintiff argues Sheriff Wegener violated Plaintiff’s constitutional rights in his

    supervisory capacity by permitting overcrowding, failing to train Captain Gore, Nurse Paulsen

    and the deputies to implement and enforce the Jail’s policies and procedures. [See Plaintiff’s

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    Response, at 37-38]. Plaintiff’s assertions concerning Sheriff Wegener’s knowledge of the

    actual conditions of the Plaintiff’s confinement in the Park County Jail including the alleged

    overcrowded conditions are addressed in the section above. As previously outlined, no evidence

    actually exists that Sheriff Wegener as a supervisor was aware of any unconstitutional conditions

    of Plaintiff’s confinement. Accordingly, Plaintiff is left with a failure to train theory to support

    his claim against Sheriff Wegener.

           Defendants acknowledge Sheriff Wegener can be held liable in his supervisory capacity

    for an unconstitutional failure to train those under his supervision as Sheriff of Park County.

    See, e.g., Currier v. Doran, 242 F.3d 905, 925 (10th Cir. 2001); Meade v. Grubbs, 841 F.2d

    1512, 1528 (10th Cir. 1988). However, vigorous causation requirements exists before a plaintiff

    can establish a failure to train claim. To establish a failure to train theory, Plaintiff must

    establish the following elements: (1) Park County Jail officials violated his constitutional rights;

    (2) the violation of Plaintiff’s constitutional rights arose under circumstances that constitute a

    usual and recurring situation with which jail officials must deal; (3) the inadequate training

    demonstrates a deliberate indifference on the part of Sheriff Wegener to persons with whom jail

    officials come into contact; and (4) there is a direct causal link between the constitutional

    deprivation and the inadequate training. Carr v. Castle, 337 F.3d 1221, 1228 (10th Cir. 2003);

    Brown v. Gray, 227 F.3d 1278, 1286 (10th Cir. 2000). 6



           6
              Defendants recognize this test has been developed in the context of a failure to train
    claim against a municipality. However, nothing about a failure to train theory against an
    individual supervisor pursuant to 42 U.S.C. § 1983 suggests another standard should apply.
    Indeed, other district courts in the Tenth Circuit have applied this test to failure to train claims
    brought against an individual supervisor. See, e.g., Unzueta v. Schalansky, 2003 U.S. Dist.
    LEXIS 14656, at *7 (D. Kan. June 13, 2003) (unpublished disposition attached as Exh. A-50);

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           Application of these failure to train standards to the facts contained in the summary

    judgment record before this Court demonstrates unequivocally Plaintiff establishes no such claim

    here. Plaintiff’s essential argument on his failure to train theory is that the Plaintiff was subject

    to unconstitutional conditions of confinement and therefore Sheriff Wegener is responsible

    because those under his supervision did not implement the policies of the Park County Jail and

    therefore the training they received must be inadequate. [See, e.g., Plaintiff’s Response, at 36].

    However, Plaintiff has presented absolutely no actual evidence concerning his failure to train

    theory. Nothing contained in the summary judgment record provides any facts on any of the

    following critical questions concerning any alleged failure to train by Sheriff Wegener: What

    training was provided to Captain Gore, Nurse Paulsen, and the jail deputies? What specific

    training was provided in the areas where Plaintiff alleges his constitutional rights were violated?

    What specific training was provided on the Park County Jail Policies and Procedure Manual?

    What alleged deficiencies exist in the training provided? What facts exist that Sheriff Wegener

    was aware of these deficiencies in training? How did any alleged deficiency in training cause the

    Plaintiff to suffer an injury to his constitutional rights? Nothing contained in the Plaintiff’s

    Response provides any facts on these critical questions underlying any failure to train theory

    against Sheriff Wegener. Plaintiff cannot defeat Sheriff Wegener’s entitlement to summary

    judgment on his failure to train theory by simply asserting in conclusory fashion that a failure to

    train exists. Instead, Plaintiff must put forth admissible evidence on these critical issues to

    demonstrate his failure to train claim is supported by actual admissible evidence. Plaintiff’s




    Teets v. Board of County Commissioners of the County of Osage, Kan., 2003 U.S. Dist. LEXIS
    4648, at * 12 (D. Kan. Mar. 24, 2003) (unpublished disposition attached as Exh. A-51).

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    failure to provide any evidence to support his failure to train theory against Sheriff Wegener

    entitles the Sheriff to summary judgment as a matter of law.

                           B. PLAINTIFF’S OFFICIAL CAPACITY CLAIM
                               AGAINST SHERIFF WEGENER FAILS

            None of the facts presented by the Plaintiff nor any of the arguments contained in the

    Plaintiff’s Response demonstrate any custom, policy or practice of the Park County Jail caused

    him a constitutional injury. Absent a custom, policy or practice of the Park County Jail that

    caused Plaintiff a constitutional injury, Plaintiff’s official capacity claim against Sheriff Wegener

    necessarily fails.

            First, Plaintiff does not argue any official written policy of the Park County Jail violated

    his constitutional rights. Instead, Plaintiff relies upon unwritten policies and procedures of the

    Park County Jail as violating his constitutional rights. [See Plaintiff’s Response, at 37-38, & 48].

    Based on the Plaintiff’s argument, the issue before this Court on summary judgment is whether

    the Plaintiff has presented sufficient evidence to establish the unwritten policies and practices he

    claims violated his constitutional rights represent an official custom of the Park County Jail

    sufficient to impose liability pursuant to 42 U.S.C. § 1983. A custom is a persistent and

    widespread practice that ultimately constitutes the standard operating procedure of the local

    governmental entity such that it has the force and effect of law. See generally Jett v. Dallas

    Indep. Sch. Dist., 491 U.S. 701, 737 (1989); David v. City & County of Denver, 101 F.3d 1344,

    1357 (10th Cir. 1996), cert. denied, 522 U.S. 858 (1997); Gates v. Unified Sch. Dist. No. 449,

    996 F.2d 1035, 1040 (10th Cir. 1993); Lankford, 73 F.3d at 286.

            Here, Plaintiff attempts to create a custom of the Park County Jail based on his own eight

    days of confinement in the Jail and the contention that overcrowding in D-Pod existed at least

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    several months prior to the Plaintiff’s detention. [See Plaintiff’s Response, at 40-41]. Review of

    the actual facts contained in the summary judgment record reveals that Plaintiff’s only evidence

    of alleged overcrowding in D-Pod other than his own eight day confinement is the number of

    INS detainees held in the Park County Jail from January through March 2003. [See Defendants’

    Response to Plaintiff’s Statement of Additional Undisputed and Disputed Facts, ¶¶ 12-14].

    Accordingly, Plaintiff requests this Court declare the alleged conditions of confinement he

    experienced represent a custom of the Park County Jail based on his own eight days of

    confinement and some evidence at most a total of three months.           Any comparison of the

    Plaintiff’s attempt to create a custom on this basis with other federal precedent demonstrates the

    Plaintiff has simply not established any widespread or persistent practice of the Park County Jail.

    Compare Hackett v. Fulton County Sch. Dist., 238 F.Supp.2d 1330, 1363 (N.D. Ga. 2002)

    (failure of school district to conduct a thorough background check on one job applicant does not

    equate to a custom or policy of conducting inadequate background checks on all job applicants;

    Durkin v. City of Chicago, 199 F.Supp.2d 836, 844 (N.D. Ill. 2002) (incidents that occurred over

    the span of a few days insufficient to create a custom or practice of sexual harassment), aff’d,

    341 F.3d 606 (7th Cir. 2003); Barth v. Village of Mokena, 2006 U.S. Dist. LEXIS 19702, at * 29

    (N.D. Ill. Mar. 31, 2006) (custom or practice established based on four years of alleged

    harassment of the plaintiff) (unpublished disposition attached hereto as Exh. A-48); Perrin v.

    City of Elberton, 2005 U.S. Dist. LEXIS 13230, at * 12 (M.D. Ga. July 1, 2003) (custom or

    practice established when process of submitting unsworn warrant applications occurred hundreds

    of times over a period of at least eight years) (unpublished disposition attached hereto as Exh. A-




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    49). No precedent exists holding that a county jail can create a custom or practice cognizable

    pursuant to 42 U.S.C. § 1983 based solely on evidence of eight days or even three months.

           Second, Plaintiff claims the evidence supports a violation of his constitutional rights to

    appropriate conditions of confinement.        [See Plaintiff’s Response, at 40-41].     However, to

    succeed with his official capacity claim against Sheriff Wegener, it is insufficient for the Plaintiff

    to attempt to demonstrate his conditions of confinement themselves were unconstitutional.

    Instead, Plaintiff must demonstrate a custom, policy or practice of the Park County Jail violated

    his constitutional rights pursuant to the applicable municipal liability legal principles. [See

    Defendants’ MSJ, at 25-27]. Defendants have provided this Court with a detailed analysis of

    how the actual policies and procedures of the Park County Jail were constitutional in terms of the

    allegations raised by the Plaintiff in his Second Amended Complaint. [See Defendants’ MSJ, at

    39-50]. Nothing contained in the Plaintiff’s Response challenges this analysis. Instead, Plaintiff

    hinges his entire official capacity claim against Sheriff Wegener on the assertion the unwritten

    policies and procedures of the Park County Jail violated his constitutional rights. As argued

    above, however, Plaintiff’s attempt to create liability on this basis fails.

           Third, Plaintiff argues the evidence establishes violation of the Plaintiff’s right to

    constitutional adequate medical care. [See Plaintiff’s Response, at 41-42]. Again, however,

    Plaintiff does absolutely nothing to link any alleged violation of his Eighth Amendment right to

    constitutionally adequate medical care to a custom, policy or practice of the Park County Jail.

    Defendants argued the Park County Jail had policies designed to provide access to medical care

    for detainees such as the Plaintiff. [See Defendants’ MSJ, at 47-49]. Plaintiff does not challenge

    the adequacy of the Park County Jail access to medical care policies in his Response. Rather,


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    Plaintiff’s argument is entirely focused on the alleged inadequacies in medical care he received

    during his detention. [See Plaintiff’s Response, at 41-44]. Even assuming arguendo the Plaintiff

    is correct that he received constitutionally inadequate medical care from Nurse Paulsen, Plaintiff

    has not established any custom, policy or practice of the Park County Jail caused Nurse Paulsen

    to provide him with constitutionally deficient medical care. Plaintiff does not even argue Nurse

    Paulsen is a final policymaker for the Park County Jail nor could he successfully do so. Plaintiff

    points to no policy of the Park County Jail concerning access to medical care that is

    constitutionally deficient. And Plaintiff cannot create any custom or practice of the Park County

    Jail based solely on the medical care he received during his detention.

           Fourth, Plaintiff challenges the Defendants’ point that proof the Defendants did not

    follow the Park County Jail policies is insufficient to establish municipal liability.         [See

    Defendants’ MSJ, at 41; Plaintiff’s Response, at 47-48]. Plaintiff engages in logical contortions

    in an effort to distinguish Davis v. Scherer, 468 U.S. 183, 194 (1984), and Hovater v. Robinson,

    1 F.3d 1063, 1068 n. 4 (10th Cir. 1993). However, Plaintiff misunderstands the Defendants’

    point. Defendants cite Davis and Hovater for the simple proposition that it is insufficient for the

    Plaintiff to prove only that the Defendants failed to follow the policies and procedures of the

    Park County Jail. Instead, to succeed with his claim, Plaintiff must identify a custom, policy or

    practice of the Park County Jail that is unconstitutional and demonstrate how that

    unconstitutional custom, policy or practice deprived him of his constitutional rights. Plaintiff has

    not done so here entitling Sheriff Wegener to summary judgment on the Plaintiff’s official

    capacity claim against him. [See Defendants’ MSJ, at 39-50].




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       III. CAPTAIN MONTE GORE IS ALSO ENTITLED TO QUALIFIED IMMUNITY
         FROM THE PLAINTIFF’S CLAIMS AGAINST HIM AS A MATTER OF LAW

           Plaintiff’s 42 U.S.C. § 1983 claim against Captain Gore in his individual capacity fails to

    overcome Captain Gore’s entitlement to qualified immunity.          Plaintiff has not and cannot

    demonstrate Captain Gore personally participated in any violation of his constitutional rights or

    violated the Plaintiff’s constitutional rights as the Jail Administrator of the Park County Jail for

    any supervisory decision respecting the Plaintiff. Further, Plaintiff cannot demonstrate that any

    alleged constitutional right violated by Captain Gore concerning the number of detainees housed

    in D-Pod was clearly established for qualified immunity purposes.

            A. INSUFFICIENT PERSONAL PARTICIPATION OF CAPTAIN GORE
            EXISTS TO HOLD HIM INDIVIDUALLY LIABLE TO THE PLAINTIFF

           Defendants argued there was no evidence contained in the summary judgment record

    establishing Captain Gore personally participated in any decision allegedly violative of the

    Plaintiff’s constitutional rights because Captain Gore was not personally involved in any specific

    decision concerning the Plaintiff’s conditions of confinement in the Park County Jail. [See

    Defendants’ MSJ, at 50-51]. Plaintiff offers no evidence or even argument to contest this

    proposition. [See Plaintiffs’ Response, at 48-49].

                        B. CAPTAIN GORE MAY NOT APPROPRIATELY
                              BE HELD SUPERVISORY LIABLE

           Plaintiff’s effort to hold Captain Gore liable is premised on the conclusory assertion that

    “Gore was even more directly involved than Wegener in the supervision of the jail, in

    implementing the jail’s policies, and in implementing or condoning unwritten customs and

    practices previously described in this response.” [See Plaintiff’s Response, at 48-49]. Plaintiff’s




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    attempt to hold Captain Gore liable in his supervisory capacity fails for the same reasons as

    Plaintiff’s attempt to hold Sheriff Wegener liable in his supervisory capacity does.

           First, Plaintiff has offered no evidence Captain Gore had any actual knowledge

    concerning any of the alleged conditions of Plaintiff’s confinement in the Park County Jail.

    Second, Plaintiff has offered no evidence to support the conclusion Captain Gore was involved

    in any medical decision involving the Plaintiff or that Captain Gore inappropriately relied on the

    professional nursing judgment of Nurse Paulsen.         Third, Plaintiff has not established any

    evidence to support any failure to train theory against Captain Gore.

             C. NO ALLEGED VIOLATION OF PLAINTIFF’S CONSTITUTIONAL
                RIGHTS BY CAPTAIN GORE WAS CLEARLY ESTABLISHED
              FOR QUALIFIED IMMUNITY PURPOSES AS A MATTER OF LAW

           Defendants argued Plaintiff’s claim against Captain Gore based on his alleged

    involvement in the number of detainees housed in D-Pod could not survive either part of the

    qualified immunity analysis. [See Defendants’ MSJ, at 52-54]. Specifically, Defendants argued

    it was not clearly established that anything Captain Gore did regarding the number of INS

    detainees housed in D-Pod in the Park County Jail was violative of the Plaintiff’s or anyone

    else’s constitutional rights. [See Defendants’ MSJ, at 53-54]. Plaintiff recognizes the need to

    demonstrate a particular constitutional right is clearly established for qualified immunity

    purposes. [See Plaintiff’s Response, at 46]. However, nowhere in the Plaintiff’s Response does

    the Plaintiff point to any precedent from the United States Supreme Court, the Tenth Circuit, or

    any other federal court that clearly establishes what Plaintiff alleges Captain Gore did respecting

    the number of detainees in D-Pod violated the United States Constitution. Plaintiff bears the

    burden of proving the law was clearly established to overcome Captain Gore’s qualified


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    immunity. Mick v. Brewer, 76 F.3d 1127, 1134 (10th Cir. 1996); Albright v. Rodriguez, 51 F.3d

    1531, 1534 (10th Cir. 1995); Pueblo Neighborhood Health Centers, Inc. v. Losavio, 847 F.2d

    642, 646 (10th Cir. 1988). Plaintiff has entirely failed to meet his burden here entitling Captain

    Gore to qualified immunity as a matter of law.

                                              CONCLUSION

           In conclusion, for all of the foregoing reasons, as well as based on all of the arguments

    and authorities presented in their initial Motion for Summary Judgment, Defendants Board of

    County Commissioners of Park County, Fred Wegener and Monte Gore respectfully request this

    Court grant them summary judgment on all of the Plaintiff’s claims against them, dismiss the

    Plaintiff’s claims against them in their entirety with prejudice, and for all other and further relief

    as this Court deems just and appropriate.

                           Dated this 12th date of February, 2007.

                                                          Respectfully submitted,


                                                          s/ Andrew D. Ringel__________________
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                                                          COMMISSIONERS OF PARK
                                                          COUNTY, FRED WEGENER
                                                          AND MONTE GORE


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                                  CERTIFICATE OF SERVICE (CM/ECF)

             I HEREBY CERTIFY that on the 12th day of February, 2007, I electronically filed the
    foregoing with the Clerk of Court using the CM/ECF system which will send notification of such
    filing to the following e-mail addresses:

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